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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

DEPARTMENT OF AMAZONAS,
DEPARTMENT oF ATLANTICO,

' DEPARTMENT OF BOLIVAIL
DEPARTMENT 0F- BOYACA,
DEPARTMENT 0F cAQUETA7
DEPARTM:ENT 01= CASANARE,
DEPARTMENT OF CESAR,
DEPARTMENT OF CHOCO,
'JEPARTMENT oF CORDOBA,
DEPARTMENT OF cUNDH\IAMARCA,
DEPARTMENT OF HUILA,
DEPARTMENT OF LA GUAJIRA,
DEPARTM;NT OF META,
DEPARTWNT OF NARINO,
DEPARTMENT OF PUTUMAY<),
DEPARTMENT 011 QUINDIO,
DEPARTMENT OF mSARALDA,
DEPARTMENT OF SANTANDER,
DEPARTMENT.OF SUCRE,
DEPARTMENT OF TOLJMA,

DEPARTMENT OF VALLE DEL CAUCA,

' DEPARTMENT OF VAUPES, and

 

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SANTA FE DE BOGOTA, CAPITAL DISTRICT,

Plaintiffs,
-against-
PHLLIP MORRIS COMPANIES, INC.,

PH]LIP MORRIS INCORPORATED d/b/a
PH[LIP MORRIS U.S.A.,

PH]LIP MORRIS INTERNATIONAL, INC.,

PH[L]P MORRIS PRODUCTS, INC., and

PH[LIP MORRIS LATIN AMERICA S'ALES CORPGRATION,

Defendants.

 

 

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Plaintiffs, DEPARTMENT OF AMAZONAS, DEPARTMENT OF ATLANTICO,
DEPARTMENT OF BOLIVAR, DEPARTMENT OF BOYACA, DEPARTMENT OF
CAQUETA, DEPARTMENT 0F CASANARE, DEPARTMENT OF CESAK DEPARTMENT
OF CHOC` O, DEPARTMENT OF CORDOBA, DEPARTMENT OF CUND]NAMARCA,
DEPARTI\/[ENT OF HUILA7 DEPARTMENT OF LA GUAJIRA, DEPARTMENT OF META7
DEPARTMENT OF NAR[NO, DEPAl{TMENT OF PUTUMAYO, DEPARTl\/[ENT OF
QUINDIC*, DEPARTMENT OF RISARALDA, DEPARTMENT OF SANTANDER,
DEPARTMENT OF SUCRE, DEPARTMENT OF TOL]MA, DEPARTMENT OF VALLE
DEL CAL"CA, DEPARTMENT ()F VAUPES, SANTA FE DE BOGOTA, CAPITAL
DISTRICT, (collectively referred to as "THE DEPARTMENTS OF THE REPUBLIC OF
COL()MBIA" or “PLAINT[FFS”), by and through the undersigned attorneys, for their complaint
against Defendants, PHlLlP MORRIS COMPANIES, INC., PH]LIP MORRIS
INC()RPORATED, d/b/a PH[LIP MORRIS U.S.A., PI-HLIP MORRIS ]NTERNATIONAL,
INC., PH[LIP MGRRIS PRODUCTS, INC., and PI-]]]_,IP MORRIS LATIN AMERICA SALES
CORPORATION, (hereinafter referred to as “PH]LIP MORRIS DEFENDANTS” or “PH]LIP
MORRIS”) as follows:

I. INTRODUCTION

l. This is an action by the Plaintiffs, THE DEPARTMENTS OF THE REPUBLIC
OF COLOMBIA, against the Defendants for violations of the Racketeer Influenced and Corrupt
Organizations Act of 1970, Title ]X of the ()rganized Crime Control Act of 1970, as amended,
18 U.S.C. §§ 1961-68 (“RICO”), as well as for negligence, fraud, unjust enrichment, public

nuisance, and acts of conspiracy The complaint seeks money damages and injunctive relief

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2. The Defendants have on a continuing basis, directly and indirectly, smuggled
cigarettes illegally into THE DEPARTMENTS OF THE REPUBLIC OF COLOl\/[BIA in
violation of United States law and common law, as Well as customs agreements between the
United States and the Republic of Colombia7 for the purpose of injuring the economic interests of
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, while increasing their profits
and market share in THE DEPARTMENTS OF THE REPUBLIC ()F COLOMBIA, enhancing
the value of their tobacco operations, and expanding the worldwide market for contraband
cigarettes

3. Treaties and agreements between the Republic of Colombia and the United States
specifically conflrm that there shall be reciprocal cooperation between the United States and the
Republic of Colombia regarding government efforts to combat transnational crime and customs
fraud These treaties and agreements also confirm that the United States and the Republic of
Colombia have a unity of objective in insuring the accurate assessment and collection of customs
duties and other related fees and charges The United States and the Republic of Colombia have
determined that smuggling operations in breach of customs agreements and existing law are
harmful to the economic, fiscal7 and commercial interests of both the United States and the
Republic of Colombia and, accordingly, it is of benefit to both nations to eliminate and remedy
the effects of such operations

4. As a direct result of the illegal acts and course of conduct of the Defendants, THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA have been injured in their business and
property THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA have lost, and continue
to lose, billions of dollars, including the deprivation of customs duties, fees, taxes, money, and

ro ert b 1 reason of the Defendants' scheme to smu le vast shi ments of contraband cigarettes
P P Y § 88 P

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and other tobacco products into THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.
This scheme also harms THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA by
supplanting sales of lawfully sold cigarettes on which duties and taxes Would have been paid to
THE DEPARTMENTS OF. THE REPUBLIC OF COLOL/[BIA.

5. Through actions undertaken in the United States and elsewhere, Defendants have
conceived, directed, controlled, and implemented an international conspiracy to deHaud
Plaintiffs and deprive them of money and property, in order to increase their profits and market
share, enhance the value of their tobacco operations, and expand the worldwide market for
contraband cigarettes By means of actions in this District and elsewhere, Defendants created
and exploited a sophisticated and clandestine smuggling enterprise that operates throughout the
world and within THE DEPARTMENTS OF THE REPUBLIC ()F COLOMBIA. This
international scheme has harmed, and continues to harm, the economic interests of many

governments including THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.
II. PARTIES

6. The Plaintiffs, THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA
and SANTA FE DE BOGOTA, CAPITAL DISTRICT, are autonomous legal subdivisions of the
Republic of Colombia. Each of THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA
and SANTA FE DE BOGOTA, CAPITAL DISTRICT, has rights and responsibilities
comparable to that of a state of the United States Among the legal rights of THE
DEPARTMENTS OF THE REPUBLIC OF CGLOMBIA is the right to hold a legal or beneficial

interest in property and receive money arising from the sale of tobacco products in the Republic

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of Colombia. THE DEPARTMENTS OF THE REPUBLIC OF COLOMBlA and SANTA FE

DE BOGOTA, DISTRICT CAPITAL, maintain their primary consular offices in the United

States through the Embassy of the Republic of Colombia at 2118 Leroy Place, Washington, D.C.
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7. PHILIP MORRIS ]_NTERNATIONAL, INC. is a Délaware corporation whose
principal place of business is'locate"d at 800 Westchester Avenue, Rye Brook, New York 10573.
PH[LIP MORRIS INTERNATIONAL, INC. is a subsidiary of PH]LIP MORRIS COMPANIES,
`INC. The D'efendant, PH[LIP MORRIS INTERNATIONAL, INC., is a citizen of the State of
New York. During all relevant times herein, PHILIP MORRIS INTERNATIONAL, INC.
conducted continuous and systematic business in the State of New York, maintains a substantial
financial presence in the State of New Yorl; utilizes offices in New York, and is otherwise
subject to the jurisdiction of the courts in the State of New York.

8. PH]LIP MORRIS COMPANIES, INC. is a Virginia corporation Whose principal
place of business is located at 120 Park Avenue, New York, New York 10017. The Defendant,
PH]L]P MORRIS COMPANIES, INC., is a citizen of the State of New York. PHILIP MORRIS
COMPANIES, INC. is the parent corporation of PHIL[P MORRIS INC. and PH]LIP MORRIS
INTERNATIONAL, INC. During all relevant times herein, PH]LIP MORRIS COMPAN]ES,
INC. conducted continuous and systematic business in the State of New York, maintains a
substantial financial presence in the State of New York, utilizes offices in New York, and is
otherwise subject to the jurisdiction of the courts in the State of New York.

9. PH[LIP MORRIS INCORPORATED, d/b/a “PHILIP MORRIS U.S.A.”, a
subsidiary of PHILIP MORRIS COMPANIES, INC., is a Virginia corporation with its principal

place of business located at 120 Park Avenue, New York, New York 10017. As such, the

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Defendant7 PH]LIP MORRIS INCORPORATED, is a citizen of the State of New York. PH[LIP
MORRIS INCORPORATED conducts business under the trade name “PH[LIP MORRIS
U.S.A.” and is engaged, along with its subsidiaries and affiliates, in the manufacture and sale of
cigarettes lt is the largest cigarette company in the United States, and owns seven
manufacturing and processing facilities in the United States.

10. PHILIP MORRIS PRODUCTS, INC., a subsidiary of PH[LIP MORRIS
INTERNATIONAL, INC., is a Virginia corporation with its primary place of business at 2001
East Walmsley Boulevard, Richmond, Virginia 23 234.

11. PHILIP MGRRIS LATIN AMERICA SALES CORPORATION, a subsidiary of
PHILIP MORRIS INTERNATIONAL, H\IC., is a Delaware corporation with its primary place of
business located at 800 Westchester Avenue, Rye Brook, New York 10573. The foregoing
PH[LIP M()RRIS-related entities are collectively referred to herein as the “PHILIP MORRIS
DEFENDANTS” or “PHILIP MORRIS.”

12. The PI-]ILIP MORRIS DEFENDANTS are and were, during all relevant times,
affiliated, consolidated, combined, and unitary entities for purposes of tobacco operations and
related activities Tobacco operations Were departments within the PH[LIP MORRIS
DEFENDANTS' corporate family The PH]LIP MORRIS DEFENDANTS maintain control of
tobacco operations worldwide through a web of affiliated entities This integrated and unitary
corporate structure was and is an essential aspect of PH[LIP MORRIS DEFENDANTS'
successful efforts to surreptitiously direct tobacco smuggling in THE DEPARTMENTS OF THE
REPUBLIC OF COLOMBIA.

13. PHILIP MORRIS COMPANIES, INC. has adopted a “worldwide” policy that

purports to exercise control of the activities of its employees, as well as those of its direct and

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indirect subsidiaries Under this policy, Which is said to be monitored and enforced by its Audit
Committee, PHILIP MORRIS COMPANIES, INC. has undertaken responsibility for the acts of
the employees of the PHILIP MORRIS DEFENDANTS, Wherever taken, including acts related
to smuggling activities within Colombia. 4

14. The PHIL[P MORRIS DEFENDANTS are and weré, during all relevant times
involved in directing, managing, and controlling smuggling operations within THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA. At all times pertinent to this
Complaint, the PH]L]P MORRIS DEFENDANTS, individually and through their employees
agents joint ventures co-conspirators, subsidiaries divisions or affiliated companies actively
directed, managed, and controlled the PH[LIP MORRIS smuggling enterprise, and actively
participated, conspired, assisted, encouraged, and otherwise aided and abetted one or more of the
other defendants in the unlawful and fraudulent conduct alleged herein, all of which has affected
and continues to affect foreign and interstate commerce in the United States

15. T he PH[LIP MORRIS DEFENDANTS are and were, during all relevant times
responsible for the acts and omissions of their employees for acts undertaken within the general
area of their authority and for the benefit of the PH]LIP MORRIS DEFENDANTS. As alleged
herein, the PHILIP MORRIS DEFENDANTS were central figures in the overall conspiracy that
actively embarked on and extensively participated in the fraudulent scheme. By means of
corporate policies that put PH[LIP MORRIS DEFENDANTS' resources and strategy at the heart
of the conspiracy, the PH]LIP MORRIS DEFENDANTS Were aggressor entities that acted to

harm the economic interests of PLAINTIFFS.

 

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III. IURISDICTION

16. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331, 1337 because
this matter involves allegations of illegal behavior arising under the laws of the United States, v
including violations of RICO. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332
because the matter in controversy exceeds the sum or value of $75,000 and involves parties of
diverse citizenship Furthermore, jurisdiction in this Court is proper pursuant to RICO. 18
U.S.C. §§ 1964(a), (c). The Defendants are “persons” within the meaning of 18 U.S.C. §
1961(3). The Plaintiffs are “persons” within the meaning of 18 U.S.C. § 1961(3). Finally, this
Court may exercise jurisdiction over Plaintiffs' non-federal claims pursuant to 28 U.S.C. § 1367

as this Court possesses both federal question and diversity jurisdiction
IV. VENUE

17. Venue is proper in this Court pursuant to 18 U.S.C. § 1965(a) because defendants
reside, are found, have an agent, or transact affairs in this District. Venue is also proper in this
Court pursuant to 18 U.S.C. § 1965(b) because, to the extent any defendant may reside outside of
this District_, the ends of justice require such defendant or defendants to be brought before the
Court. Venue properly lies in this Court pursuant to 28 U.S.C. § 1391(b)(2). Venue is also
proper in this Court pursuant to 28 U.S.C. § 139l(d) because a foreign corporation may be sued

in any district Alternatively, venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(2).

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V. THE INTERNATIONAL SMUGGLING SCHEME

18. Beginning in the late 1970s and continuing through the present day, the PHILIP
MORRIS DEFENDANTS, in conducting one of their primary businesses of selling tobacco v
products worldwide, have launched and conducted a consistent and concerted campaign to
increase their market share in the countries in which their products are sold.

7 19. To accomplish this end, the PHILIP MORRIS DEFENDANTS have actively
engaged in smuggling activities and concealed such conduct through illegal acts including
money laundering, wire fraud, mail fraud, and other violations of United States law. Defendants
have collaborated With smugglers encouraged smugglers and sold cigarettes to smugglers
either directly or through intermediaries while at the same time supporting the smugglers' sales
through the establishment and maintenance of so-called “umbrella operations” in the target
jurisdictions “Umbrella operations” are legal routes for distribution of duty-paid cigarettes that
enable the import of a small volume of cigarettes by Defendants into the DEPARTMENTS OF
THE REPUBLIC OF COLOMBIA., while serving the overarching purpose of providing cover
for, and otherwise concealing, the Defendants' massive smuggling of contraband cigarettes into
the DEPARTMENTS OF THE REPUBLIC OF COLOMBIA. By such acts among others the
Defendants embarked upon and pursued a scheme to smuggle cigarettes on a worldwide basis
including within THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, in order to
deprive Plaintiffs of money and property, while increasing the sales of their products profits and
market share, and enhancing the value of their tobacco operations

20. By encouraging, supporting, facilitating, controlling and directing the activities of

the smugglers engaged in the sale, marketing and distribution of contraband cigarettes

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throughout THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, the PHILIP
MORRIS DEFENDANTS have achieved multiple benefits for themselves including but not
limited to the following: j
v a. T he Defendants have increased their cigarette sales because they have new

and additional customers namely, the smugglers and their customers

b. By causing the evasion of taxes and duties and under-invoicing their
products the Defendants have increased their cigarette sales and otherwise obtained illicit
profits

c. The Defendants have increased their market share by making their
cigarettes available to the general public within THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA at prices below those which could be charged by their competitors Whose products
are sold lawfully-and which, therefore, are more expensive

d. The Defendants have utilized the existence of smuggling into North
America, Europe, and South America as a public-relations vehicle and political tool by which to
lobby the Republic of Colombia and THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA, the United States Congress and the legislatures of the various states of the United
States to reduce or eliminate cigarette taxes under the pretense that high cigarette taxes promote
smuggling and other crimes As a consequence of Defendants' direct and indirect representations
to Plaintiffs the Republic of Colombia and/or government officials of THE DEPARTMENTS
OF THE REPUBLIC OF COLOMBIA, were mislead concerning the actual cause of smuggling
-- the Defendants’ conduct The Defendants employed this lobbying scheme while falsely

denying and concealing their complicity in smuggling activities

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e. The Defendants have enhanced the market value of their tobacco
operations while decreasing the market value of their competitors

f. The PHILIP MORRIS DEFENDANTS and other tobacco companies
worldwide share a common interest and goal to implement a scheme to promote the activities of
smugglers in that they coordinate their public-relations efforts and jointly fund their public-
relations vehicles as a continuing joint campaign to achieve greater demand for their cigarettes
worldwide. The existence of smuggling as encouraged by the Defendants has constituted the
“self-fulfilling prophecy” that high cigarette taxes will only cause smuggling The Defendants
through their various public-relations vehicles utilize the data concerning smuggling, the
hazards of smuggling, and the lost revenues associated With smuggling, as a method by which to
encourage or pressure the United States the Republic of Colombia and THE DEPARTMENTS
OF THE REPUBLIC OF COLOMBIA, and other countries to reduce or eliminate their cigarette
taxes The Defendants conduct this public relations and lobbying campaign without disclosing to
the public or Plaintiffs their continuing complicity in smuggling

21. Additionally, the PH[LLIP MORRIS DEFENDANTS individually and/or jointly
work in concert with various distributors and large-scale smugglers of cigarettes to ensure that
their objectives as set forth above are achieved
22. The PHILIP MORRIS DEFENDANTS, jointly and as individual corporations

encourage, promote, facilitate, cooperate with7 and control the smuggling of cigarettes into THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA in a variety of ways including but not
limited to the following:

a. The Defendants knowingly sell cigarettes directly to smugglers or to

distributors Whom Defendants know are selling the cigarettes to smugglers

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b. The Defendants knowingly sell large quantities of cigarettes to entities 7
and/ or destinations in which Defendants know from their marketing studies that the legitimate
demand for cigarettes cannot possibly account for the orders placed, thereby demonstrating that
the Defendants know that their cigarettes are being sold for illegal purposes

c. The Defendants knowingly label, mislabel, or fail to label their cigarettes
in such a way that they facilitate the activities of the smugglers

d. The Defendants provide marketing information to the distributors and to
the smugglers so that the smugglers will order, purchase, sell, and distribute-the cigarettes
manufactured by the Defendants that are in greatest demand in the area of ultimate consumption
of the smuggled cigarettes

e. The Defendants generate false or misleading invoices bills of lading,
shipping documents and other documents that expedite the smuggling process

f. The Defendants engage in a pattern of activity by which they ship
cigarettes designated for one port knowing that in fact the cigarettes will be diverted to another
port so as to be smuggled

g. The Defendants make arrangements by which the cigarettes in question
can be paid for in such a way as to be virtually untraceable.

h. The Defendants make arrangements for the smuggled cigarettes to be paid
for into foreign accounts including Swiss corporations and/or Swiss bank accounts in an attempt
to improperly utilize Swiss banking and privacy laws as a shield to protect the smugglers from
government investigations concerning their activities

i. The mails and wires were used, or were caused to be used, in the

furtherance of the above actions and constitute an unlawful scheme to defraud Plaintiffs

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23. The Defendants know that smugglers have been purchasing their cigarettes in
large quantities either directly or indirectly, in order to smuggle cigarettes into THE
DEPARTMENTS OF THE REPUBLIC OF C()LOMBIA.

l 24. The Defendants directed smuggling operations by giving instructions to
distributors shippers shipping companies retailers and/or various'!other intermediaries as well
as the smugglers so as to effectuate the sale of large amounts of contraband cigarettes in THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

25. But for the active and knowing assistance of the Defendants the smugglers could
not have obtained, smuggled, and sold the large quantities of contraband cigarettes successfully
for many years But for the active assistance of the Defendants the proceeds of the smuggling
scheme could not have been laundered and delivered to the Defendants for their use in the
smuggling enterprise l

26. This vertical group, which consisted of the Defendants the distributors the
shippers the smugglers currency brokers and the Defendants' agents and subsidiaries who
received payment for the cigarettes worked together for the common purpose of engaging in a
course of conduct to gain massive profits from the sale of cigarettes that were illegally sold in
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA while harming Plaintiffs’
economic interests The activities of this core group constitute a conspiracy in law and in fact.

27 . The PH[LIP MORRIS DEFENDANTS have been complicit in cigarette
smuggling for many years and this scheme has been carried out by means of activities conducted
throughout this District and throughout this State. Examples of the methods and means by

which the PH]LIP MORRIS DEFENDANTS have controlled, directed and facilitated the

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smuggling of cigarettes into THE DEPARTl\/[ENTS OF THE REPUBLIC OF COLOMBIA
include the following:

a. The PHIL]P MORRIS DEFENDANTS created a circuitous and
clandestine distribution chain for the sale of cigarettes ind order to facilitate smuggling within the
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA. The PHILIP MORRIS_
DEFENDANTS own, either wholly or partially, and/or operate and/or license facilities in the
United States that produce Marlboro cigarettes and other brands owned by PHILIP MORRIS
DEFENDANTS, These`cigarettes are produced both for domestic consumption and for export
The cigarettes produced for export bear distinctive markings as being tax exempt and specifically
produced for export These Marlboro cigarettes are then sold to affiliated or wholly owned
distributors in Belgium and in other countries which, in turn, sell the cigarettes to distributors in
the Caribbean and Central and South America. The purpose of this labyrinthian distribution
structure is to sell, or cause the sale, to distributors that are known smugglers or business
associates of smugglers within the DEPARTMENTS OF THE REPUBLIC OF COLOMBIA,
while concealing such sales from government authorities The decision to establish and maintain
this distribution chain was made at the highest executive levels of the PH[LIP MORRIS
DEFENDANTS.

b. These Caribbean, Central, and South American distributors maintain a
close relationship with the Defendants for purposes of increasing the market share of the PH]LIP
MORRIS DEFENDANTS’ products and for other commercial purposes within THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

c. The PH[L[P M()RRIS DEFENDANTS conduct extensive and expensive

advertising campaigns to promote the sales of their cigarette brands specifically Marlboro,

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within THE DEPARTMENTS OF THE REPUBLIC OF CGLOMBIA. This is done in spite of
the fact that the volume of their sales of legally imported Marlboro cigarettes does not justify
the level of expense in advertising and related commercial campaigns The purpose of this
extensive advertising and promotional campaign is toincrease the consumption and sale of
Marlboro product, including smuggled Marlboro cigarettes The decisions of the PH[LIP
MORRIS DEFENDANTS as to the amounts to be spent on advertising and the extent of
advertising and the quality thereof within THE DEPARTMENTS GF THE REPUBLIC OF
COLOMBIA are made by high-level executives within the PHILIF MORRIS DEFENDANTS.

d. The Defendant, PH]LIP MORRIS LATIN AMERICA SALES
CORPORATION, is one of the primary Defendants involved in the conspiracy The Defendant,
PH]LIP MORRIS LATIN AMERlCA SALES CORPORATION, developed and operates the
"urnbrella operation" which allows the PHILIP MORRIS DEFENDANTS to maintain a
corporate presence in Colombia and to market and advertise the smuggled product. Individuals
including Peter Schreer and Fred Hauser, were either employees of PHILIP MORRIS LATIN
AMERICA SALES CORPORATION and/or acted on behalf of this Defendant in conducting the
activities set forth in this complaint

e. On a regular basis for at least the last decade, the PH]LIP MORRIS
DEFENDANTS have made, or caused the making of, false statements to Colombian customs
authorities The PH]LIP MORRIS DEFENDANTS engage in a systematic process of “under-
invoicing’i their otherwise legitimately imported cigarettes into Colombia Under-invoicing is
the process by which the PHILIP MORRIS DEFENDANTS declare the value of a case of
cigarettes as being less than its true value. The invoice price is the basis upon which the

cigarettes are taxed within the Republic of Colombia. By declaring the cigarettes to be of less

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than their fair value, the immediate benefit to the PH[LIP MORRIS DEFENDANTS is that
PH]LIP MORRIS affiliates do not pay the full tax that is due on each case of cigarettes There is
also an indirect benefit to the PHIL[P MORRIS DEFENDANTS in that by under-invoicing the
cigarettes PH]LIP MORRIS DEFENDANTS are able to manipulate the prices of both legally
sold and smuggled cigarettes in THE DEPARTMENTS OF THE I{EPUBLIC OF COLOMBIA.
These Defendants or parties acting under their control and direction, have stated a declared
customs value for the Marlboro product imported by PH]LIP MORRIS into Colombia which was
substantially below what would otherwise be the price for the product in the market of origin, the
United States for sale to unrelated parties These prices are reported by the PHILIP MORRIS
DEFENDANT S to the Colombian customs authorities as prices for sale to unrelated parties and
not as an inter-company transfer of goods The Colombian customs authorities have relied on
these false representations to their economic detriment. Furthermore, the Defendants specifically
represent to the Colombian customs authorities that the prices reflected in the documents are
unaffected by the fact that the sale is from one PH]LIP MORRIS DEFENDANT to another
PHIL]P MORRIS DEFENDANT. However, in fact, the price ostensibly charged by PHILIP
MORRIS PRODUCTS, INC. to PH[LIP MORRIS LATIN AMERICA SALES
CORPORATION is less than one half of the price that is actually charged to PHILIP MORRIS
DEFENDANTS' best customers The PHILIP MORRIS DEFENDANT S have transmitted
dozens if not hundreds of such misleading documents to the government of Colombia by use of
the U.S. wires and/or mail. Payment for the cigarettes is made by wire transfer to PH]LIP
MORRIS PRODUCTS, INC.'s account at Citibank in New York City. A substantial number of

the false or misleading documents that were sent to the Colombian government were executed by

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A. Steven Roberts, vice-president of PH]LIP MORRIS PRODUCTS, INC., from his offices in
Richmond, Virginia
f. This practice of systematic under-invoicing allows the PH[L[P MORRIS
f DEFENDANTS to control the final retail price of the smuggled Marlboro product, as well as to
minimize the loss at which, according to the Defendants the PHILIP MORRIS DEFENDANTS
operate in Colombia This practice in turn allows the PH]L[P MORRIS DEFENDANTS to
increase their market share at the expense of those entities that comply with the law.

g. The PHILIP MORRIS DEFENDANTS have created a dual system for the
distribution of cigarettes within the DEPARTMENTS OF THE REPUBLIC OF COLOMBIA
comprised of unlawful and lawful sales The PH]LIP MORRIS DEFENDANTS conduct
marketing studies and do extensive market analyses for the Colombian market in which they
identify and assess their cigarette sales through two categories (1) legal sales known as “DP”
(duty-paid) and (2) illegal sales known as “DNP” (duty-not-paid). One purpose of maintaining
artificially low priced legal sales is to allow a corporate presence within their target markets ~ the
so-called “umbrella operation” - in order to provide cover for, and otherwise conceal, their
massive smuggling enterprise This corporate presence allows the PH[LIP MORRIS
DEFENDANT S to advertise and otherwise compete freely within their primary target markets
This distribution chain and marketing strategy, while being executed by the PH[LIP MORRIS
DEFENDANTS in Colombia and the PH]LIP MORRIS distributors throughout the world, is a
strategy and system used by the PH[LIP MORRIS DEFENDANTS to disguise the actual illegal
nature of the PHILIP MORRIS DEFENDANTS‘ distribution chain and marketing strategy The
PHILIP MORRIS DEFENDANTS' legal imports of Marlboro cigarettes into Colombia amount

to only a small fraction (4%) of their actual sales to Colombia. PHILIP MORRIS

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lNTERNATIONAL, INC. was and is a central part of the smuggling conspiracy PHILIP
MORRIS INTERNATIONAL, INC. was in fact, the primary architect of the strategy by which
cigarettes were smuggled into Colombia. The majority of the acts set forth within this complaint
were undertaken at the direction of PH]LIP MORRIS H\ITERNATIONAL, INC. or with its
consent

h. In or about the early 1990s Miami bank accounts of various PH[LIP
MORRIS DEFENDANTS’ cigarette distributors were frozen by United States law-enforcement
officials because funds credited to those accounts were laundered drug money The freezing of
these accounts was well known to PH]LIP MORRIS. By virtue of this event among others the
PH]LIP MORRIS DEFENDANTS were aware or should have been aware that their distributors
were handling proceeds of unlawful activity

i. - Since at least 1991, the PH]LIP MORRIS DEFENDANTS were selling
cigarettes to individuals who they knew had a reputation as smugglers As of 1994, court records
that were available to the PH]L[P MORRIS DEFENDANTS demonstrate that one of those
individuals had actually told U.S. government informants that he was involved in drug
trafficking Specifically, he had told U.S. law-enforcement agents that he was involved in the
"pool system" of drug trafficking whereby he would combine his load of drugs with those of
other drug dealers into a single large shipment destined for the United States He went on to
explain that individual traffickers in the United States received the drugs and sold them for U.S.
currency The traffickers would then deliver the cash to couriers approved by the drug lords who
would convert the cash into cashier's checks made payable to specific businesses owned by this
individual The businesses to which these drug funds were delivered are identified by name in

the court documents Accordingly, the fact that this individual was a drug trafficker and the

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identity of the companies that he used to launder money were known or should have been known
to the PHIL]P MORRIS DEFENDANTS. In spite of this fact, the PH[LIP MORRIS
DEFENDANTS continued to sell large volumes of cigarettes to this individual so that he could
smuggle them into Colombia and use those sales to launder drug money

j. The PHILIP MORRIS DEFENDANTS have had long-term relationships
with various agents and distributors in Central America and the Caribbean lt is publicly known
that some of these agents and distributors have been investigated and/or indicted by the United
States for money laundering When the PH]LIP MORRIS DEFENDANTS became aware that
their agents or distributors were accused of illegal activities the PHIL[P MORRIS
DEFENDANTS did not sever their relationships with the agents or distributors lnstead, they
established a secretive and circuitous route by which they could sell cigarettes to those entities
without detection by law enforcement For the past several years and continuing into the present,
the PHILIP MORRIS DEFENDANTS have implemented a policy and procedure by which
certain customers were required to purchase cigarettes only by ordering them through remote
offices such as one in Uruguay. Usually, orders may be placed to such an office only verbally
over the telephone Often, any form of written communication with such an office is prohibited
When cigarette orders are placed through such an office, they are passed on to Maraval, a
company based in Basel_, Switzerland. The agents and distributors must pay Maraval for the
cigarettes Delivery of the cigarettes is arranged by another company called Weitnauer, also
based in Switzerland. The sole purpose of this convoluted procedure for secret orders secret
payments and secret delivery of cigarettes was and is to conceal from law enforcement the fact
that the PH[LIP MORRIS DEFENDANTS were knowingly selling their cigarettes to distributors

who were selling cigarettes into smuggling channels which reached, among other places the

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DEPARTMENTS OF THE REPUBLIC OF COLOMBIA. However, in spite of this ostensibly
arm's-length transaction, the PH[L[P MORRIS DEFENDANTS actually controlled the sale of all
cigarettes sold by these agents and distributors including those that were-sold for smuggling
Even as to smuggled cigarettes the PHILIl’ MORRIS DEFENDANTS set a price for which
cigarettes must be sold. lf the agents distributors or smugglers did not sell the cigarettes for the
prices set by the PH[LIP MORRIS DEFENDANTS, then these Defendants took punitive action
against the agents distributors and/or smugglers The requirement by the PH]LIP MORRIS
DEFENDANTS that orders to` the remote offices not be in writing is a further attempt by PH]LIP
MORRIS to conceal its involvement in illegal activities A substantial proportion of the
cigarettes purchased through the aforesaid procedure were smuggled into THE DEPARTMENTS
OF THE REPUBLIC OF COLGMBIA.

k.- The PHILIP MORRIS DEFENDANTS had long-standing relationships
with several of their distributors in the Caribbean and Central America. Managerial employees
of the PHILIP MORRIS DEFENDANTS, including the one-time head of the Latin-America
Sales Division, actually maintained a partnership relationship with these distributors These
PHILIP MORRIS executives shared in the profits of these distributors as to the cigarettes that
were sold into smuggling channels The PHILIP MORRIS DEFENDANTS expedited the
smuggling of cigarettes through these distributors in two ways First, when a price increase for
product was imminent, the PHIL]P MORRIS DEFENDANTS would advance order huge
volumes of cigarettes at the old, lower price such that the favored distributors Would receive the
benefit of the old pricing, thereby increasing their profits Additionally, the PH]LIP MGRRIS
DEFENDANTS would grant exceptionally favorable financing terms to these distributors For

example, whereas most purchasers would be required to pay for their cigarettes in cash upon

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delivery, certain distributors were allowed financing plans that allowed them sixty to seventy-
five days to pay for the cigarettes When one takes into account the total delivery time for
cigarettes this sixty to seventy-five day grace period allowed these distributors to keep two to
three times more cigarettes in the "pipeline" than would be possible if payments were in cash
upon delivery of the cigarettes The PHIL[P MORRIS DEFENDANTS granted these favorable
financing arrangements to these distributors so as to maximize the amount of cigarettes that was
available in smuggling channels

l. The executives of the PHIL[P MORRIS DEFENDANTS have
intentionally created a circuitous route by which the majority of cigarettes which are purchased
for sale in Europe or South America must be paid for in Switzerland and are shipped from large
warehouses used by PHILIP MORRIS in Belgium or other European countries The primary
purpose for establishing this distribution chain is to make it more difficult for investigators to
distinguish between legitimately and illegitimater sold cigarettes and to make it difficult or
impossible for legal authorities to track the payment for the cigarettes and the ultimate
destination of the cigarettes The PHILIP MORRIS DEFENDANTS knowingly engage in this
practice because they derive enormous financial benefit from their sales of cigarettes to
smugglers Also, the PfHLIP MORRIS DEFENDANTS achieve maximum market penetration
and maximum market share by dumping billions of contraband cigarettes into South American
and other markets at prices below the price by which legitimately sold cigarettes can be sold. In
the early 1990s distributors in the Caribbean and Central America who wished to sell Marlboro
cigarettes to smugglers could order the cigarettes from Richmond, Virginia and have them
shipped to Miami_, Florida, and on to the distributor However, beginning in approximately

19977 the PHILlP MORRIS DEFENDANTS, in an attempt to insulate themselves from the

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distributors and the smugglers established a more circuitous route by which the cigarettes would
be shipped to Antwerp and delivered to Weitnauer. The cigarettes would then be trucked from
Antwerp to Rotterdam. The cigarettes would then be shipped from Rotterdam to the distributor
in the Caribbean or Central America 'Payment for the cigarettes would then be made to Maraval.
ln spite of the fact that the routing of the cigarettes now included th`e involvement of two
additional companies and in spite of the fact that the distance over which the cigarettes must be
transported was drastically increased, the distributors in the Caribbean and Central America were
subjected to no price increase The markups, handling charges and additional shipping expenses
were absorbed by the PHILIP MORRIS DEFENDANTS so that they could insure that the flow
of their cigarettes into Colombia would continue as intended and that there would be no
reduction of market share associated with a price increase The strategic plan for the scheme set
forth above was developed by all the named PHILIP MORRIS Defendants and, in particular, by
the Defendants’, PHILIP MORRIS INTERNATIONAL, INC., PHILIP MORRIS PR()DUCTS,
INC., and PH]LIP MORRIS ]NCORPORATED d/b/a PH[LIP MORRIS U.S.A.

m. In approximately 1997, PH]LIP MORRIS DEFENDANTS restructured
international sales operation such that the vast majority of all cigarettes both legal and
smuggled, sold into Europe, Central and South America were routed through Belgium. Ports and
warehouse districts of Belgium were selected because they were difficult for customs officials to
monitor. By routing billions of dollars of cigarettes through ports in Belgium, the PHIL]P
MORRIS DEFENDANTS encouraged the development of a system by which those ports
became a center for smuggling activity Employees of the PH]LIP MORRIS DEFENDANTS
visited the docks and warehouses in Belgium on a routine basis for the purpose of meeting

customers maintaining customer relations and promoting the sale of new products By virtue of

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their presence at these facilities and by virtue of the discussions that they had on a routine basis
the employees and management of the PH]LIP MORRIS DEFENDANTS were well aware of the
high level of smuggling activity surrounding their product l

n. The smuggling activities ofthe PHiLiP MoRRrs DEFENDANTS have
enabled drug lords to launder their illicit profits According to the United States Department of
Justice, billions of dollars of worth of drug proceeds generated in the United States are laundered
through the so-called “black market peso exchange” (BMPE) in Bogota and elsewhere in
Colombia These narcotics-generated proceeds supply the funds for the movement of billions of
dollars worth of smuggled U.S. and foreign goods including cigarettes into Colombia. In short,
what starts out as drug currency on the streets of U.S. cities ends up as smuggled goods
including cigarettes on the streets of Colombia And significantly, this dollar-for-peso exchange
on Colombia’s black market fuels the illicit drug trade that is the scourge of both the U.S. and
Colombia Representatives of the PHILIP MORRIS DEFENDANTS are on actual notice that
the source of funds used to purchase their cigarettes is drug trafficking yet they continue to
receive these funds and to sell cigarettes to these persons By reason of this conduct, the PHIL]IP
MORRIS DEFENDANTS aid and abet the efforts of drug lords to launder their ill-gotten gains

o. Employees of the PH]LIP MORRIS DEFENDANTS were personally
involved in the laundering of the proceeds of illicit narcotics sales Various employees of the
PH]LIP MORRIS DEFENDANTS personally traveled to Colombia and entered the country
illegally, paying bribes to ensure that their passports were not marked so as to reflect that they
had entered Colombia. These employees on multiple occasions received large volumes of cash
that they took into their personal possession or these employees would be present when large

volumes of cash were turned over to the distributors with whom the PHILIP MORRIS

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employees were traveling These individuals would then smuggle the cash out of Colombia and
into Venezuela, with the cash ultimately being deposited in banks and transferred into the coffers
of the PHILIP MORRIS DEFENDANTS. The PHILIP MORRIS DEFENDANTS were fully
aware of the illegal nature of their activities as is evidenced by the fact that their employees went
to great lengths to ensure that there was never an indication on their passports that they had ever
been in the country of Colombia

p. The employees of the PHIL]P MORRIS DEFENDANTS received the
aforesaid cash knowing that it was the proceeds of illegal activity including smuggling on the
“black market,” money laundering and fraud. Furthermore, it was well known to the PHILIP
MORRIS DEFENDANTS and to the "distributors" who had arranged the sales that there were
risk factors associated with dealing with the cigarette smugglers and receiving “black market”
currency in exchange for the cigarettes As a result, the price of the cigarettes and the financing
agreements by which the cigarettes would be sold was specifically negotiated to take into
account the risk factors involved in such illegal transactions In the case of virtually every such
transaction, there were wire communications by telephone and/ or facsimile between distributors
in the Caribbean, Panama, and elsewhere, and employees ofPHILIP MORRIS DEFENDANTS
located in New York, Miami, and/or Virginia - all of which furthered the scheme and deprived
Plaintiffs of money and property

q. The PH]LIP MORRIS DEFENDANTS knowingly and intentionally
shipped large volumes of cigarettes to individuals and corporations in certain free trade zones
such as the Colon Free Trade Zone in Panama. These sales were made to companies that were
known smugglers and/ or known money launderers. Although the ultimate destination of these

cigarettes was not Panama, the PH]L]P MORRIS DEFENDANTS shipped these cigarettes to

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Panama so that the money launderers could use the secrecy laws of the Republic of Panama as a
shield by which to divert the cigarettes to their ultimate destinations without being scrutinized by
the agencies and governments to whom customs duties would be owed on these cigarettes A
substantial percentage of these cigarettes were ultimately-smuggled into THE DEPARTMENTS
OF THE REPUBLIC OF COLOMBIA. Shipments of this type occurred throughout the 1990s
Shipments of this type continue until the present day As recently as March 9, 2000, two
container loads of PH[LIP MORRIS cigarettes were shipped into Panama as a part of the
smuggling scheme The cigarettes in question were produced in the United States by the PH]L]P
MORRIS DEFENDANTS, shipped to warehouses in Antwerp, Belgium, trucked to Rotterdam,
shipped from the Port of Rotterdam to Panama, and would have been smuggled into THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA but for the fact that the cigarettes were
seized by Panamanian customs authorities on March 9, 2000.

r. As of approximately 1990, the trade name “Belmont" was owned by BAT
in Venezuela, but was owned by the PHILIP MORRIS DEFENDANTS in Colombia. However,
the Belmont trademark was not being used by the PHIL[P MORRIS DEFENDANTS in
Colombia in that no Belmont cigarettes were being produced for sale in Colombia. In the early
1990s BAT began to sell large volumes of Belmont cigarettes in Colombia. Under the laws in
Colombia and most South American countries the owner of a trademark can lose the rights to
that trademark if the trademark is not used. Accordingly, in the early 1990s the PI-]]LIP
MORRIS DEFENDANTS were in a position where they may lose their rights to the Belmont
trademark if they did not begin selling Belmont cigarettes in Colombia. In order to avoid this
possibility, the PI-]]l,IP MORRIS DEFENDANTS began manufacturing Belmont cigarettes in

Ecuador and smuggling them into Colombia through a number of entry points including the City

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of Ipiales. However, due to lack of market demand, there were not enough sales of the Belmont
cigarettes to allow the PH[L]§P MORRIS DEFENDANTS to adequately defend their trademark
Accordingly, in approximately 1992, the PH]LIP MORRIS DEFENDANTS launched a more
aggressive smuggling campaign by which a larger volume of Belmont cigarettes manufactured in
Ecuador would be smuggled into Colombia through Panama and the Caribbean It was not
possible for the PHILIP MORRIS DEFENDANTS to ship these cigarettes through their normal
smuggling distributors because those distributors did not wish to compete With the BAT
distributors who were selling large volumes of BAT's Belmont cigarettes in'Colombia. As a
result, the PHILIP MORRIS DEFENDANTS engaged in the direct smuggling of their product

_ into Colombia From approximately 1992 through 1994, the PH[LIP MORRIS DEFENDANTS,
through their employees and executives smuggled Belmont cigarettes from Ecuador into
Colombia through various routes In approximately 1994, BAT filed legal claims in Colombia to
entitle them to register their Belmont trademark in Colombia. In response to this initiative, the
PH]LIP MGRRIS DEFENDANTS started an umbrella operation by which they could, for the
first time, legally sell their Belmont cigarettes in Colombia. These activities resulted in a legal
ruling that ultimately resulted in both the PHILIP MORRIS DEFENDANTS and BAT being
allowed to sell Belmont cigarettes in Colombia. However, even after that ruling, the majority of
the Belmont cigarettes manufactured by the PH[LIP MORRIS DEFENDANTS that Were
ultimately consumed in Colombia were smuggled into Colombia The PH[LIP MORRIS-made
Belmont cigarettes were smuggled into Colombia at least until 1999.

s. Throughout the 1990s and continuing into the year 2000, the PH]LIP

MORRIS DEFENDANTS have continued to knowingly sell cigarettes to smugglers or

distributors who sell to smugglers and have gone to great lengths to conceal this fact from the

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various law enforcement agencies and customs agencies around the world charged with the
monitoring of cigarette sales For example, throughout 1999 and into the year 2000, the PHILIP
l\/IORRIS DEFENDANTS on numerous occasions notified prosecutors and customs officials
within the government of Panama that there is currently no authorized dealer in the Colon Free
Trade Zone in Panama for the tobacco products of the PHILIP MORRIS DEFENDANTS.
However, the PHILIP MORRIS DEFENDANTS continue to sell their products to persons in the
Colon Free Trade Zone and conceal these activities F or example, on January l7, 2000, Philip
Morris World'Trade S.A., an instrumentality of the PHlLfP MORRIS DEFENDANTS, sold 440
cases of Marlboro and Marlboro Lights cigarettes to Weitnauer Services Ltd. of Basel,
Switzerland. The PH]LIP MORRIS DEFENDANTS claim to have no knowledge of where the
cigarettes went after they were sold to Weitnauer. However, in fact, the delivery note reflecting
the delivery of those cigarettes was faxed by way ofU.S. wire to one Marco Shrem, in the Colon
Free Zone Marco Shrem is the owner of a company in the Free Zone called Marksman Latin
America S.A. In spite of the fact that the confirmation of the sale was sent to Mr. Shrem,
Weitnauer ostensibly did not sell the cigarettes to Mr. Shrem or to any company of which he is
an officer. Rather, Weitnauer ostensibly sold the cigarettes to a company called Interduty Free
Tulcan for delivery to a warehouse in Antwerp, Belgium. Interduty Free Tulcan ostensibly
shipped the cigarettes to Interduty Free Panama lnc. located in Panama. However, that notice of
shipment included notification to a company known as J. F. Hillebrand, U.S.A., Inc. located in
Hollywood, Florida. The bills of lading and other pertinent documents relative to this shipment
were delivered to Hillebrand U.S.A., Inc, by way of the U.S. wires and/or mails on or about
February 17, 2000. The cigarettes in question were ostensibly destined for Ecuador and the

declarations of commercial movement indicate that the cigarettes should have been shipped

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through the Panama Canal without being offloaded and delivered straight to Ecuador. However,
when the cigarettes arrived in Panama, they were offloaded and placed in a warehouse without
the proper declarations being prepared As a result of the illegal unloading of the cigarettes the

1 cigarettes were seized by Panamanian customs authorities At the time Panamanian customs
authorities seized the cigarettes they discovered Marco Shrem's employees removing the
numbers and markings from the cases of Marlboro cigarettes Even though all documents
indicate that the cigarettes are the property of Interduty Free Panama Inc., Marco Shrem has
appeared before the Panamanian customs authority with documentary proof from the PH]LIP
MORRIS DEFENDANTS that the cigarettes belong to him and to Marksman Latin America
S.A. Because the PH]LIP MORRIS DEFENDANTS provided proof that the cigarettes belonged
to Marksman Latin America S.A., the cigarettes were eventually released to that company They
were then, under'the watchful eye ofPanamanian customs authorities sold to individuals who it
is believed took them to Colombia Because the cigarettes in question were seized, it is not
possible to know the intended destination of these cigarettes had they not been seized. However,
shipping records relative to Marksman Latin America S.A. demonstrate that a large proportion of
the products purchased and sold by this company are smuggled illegally into Colombia or
smuggled illegally into Europe. The PH[L]P M()RRIS DEFENDANTS indisputably have
knowledge as to the true buyer of the cigarettes by virtue of the fact that the PH[LIP M()RRIS
DEFENDANTS sent the pertinent delivery documents to Marco Shrem. The knowledge that the
cigarettes were being sold into smuggling channels is demonstrated by the convoluted process by
which PHILIP MORRIS DEFENDANTS sold the cigarettes so as to conceal from law-

enforcement agencies the identity of the ultimate purchaser

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t_ A company known as "Catana" is a wholly owned subsidiary of PHILIP
MORRIS DEFENDANTS. Catana exported Astor cigarettes to the Caribbean, which were then
shipped into Colombia and/or Venezuela Without any duty being paid. n

u. The PHILIP MORRIS DEFENDANTS made arrangements by which . ,
smugglers and those who distributed to smugglers could pay for their cigarettes in Switzerland so
as to avoid detection of these payments In fact, PI-lILIP MORRIS has moved the records
concerning many of its illegal activities worldwide to Switzerland so as to escape the
surveillance of the governments which are victimized by PH]LIP MORRIS’ illegal activities

v_ The PH[LIP MORRIS DEFENDANTS, through the words and actions of
their agents and employees falsely represented to the law enforcement agencies of various
governments including the Republic of Colombia and THE DEPARTMENTS OF THE
REPUBLIC OF COLOMBIA, that they were attempting to combat smuggling when, in fact, they
were actively supporting smuggling While concealing their complicity in smuggling the
PH]LIP MORRIS DEFENDANTS engaged in a widespread public-relations campaign, carried
out through use of the mails and the wires condemning “high taxes” as the cause of smuggling
which campaign induced various governments around the world to reduce or eliminate certain
cigarette taxes and incur economic injury

w. The PI~IILIP MORRIS DEFENDANTS specifically design and/or redesign
the packaging of their cigarettes so as to make it difficult for customs officials in various
countries to identify cigarettes that have been smuggled

x. Within South America, the priority market within the region historically
has been Colombia The PH[LIP MORRIS DEFENDANTS, throughout the 1990s were

engaged in a battle for market share in South America and in particular in Colombia even as to

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brands that were not legally sold within those countries The dominant brand in the region was
l\/larlboro, manufactured by the PH[LIP MORRIS DEFENDANTS. This was true even as to the
“transit marke " which is another industry euphemism for smuggled cigarettes Marketing
strategies were created for both legally sold and smuggled cigarettes by the PH]LIP MORRIS
DEFENDANTS.

y 7 In April 1991, a competitor of PH[LIP MORRIS DEFENDANTS
conducted an extensive analysis of the marketing strategy of PH]LIP MORRIS
DEFENDANTS in Colombia It confirms that the PH]LIP MORRIS DEFENDANTS
utilized a marketing strategy for Colombia by which the PHILIP MORRIS
DEFENDANTS sold their products to particular agents in the Caribbean and the Panama
Free Zone who would, in turn, sell the cigarettes to the Colombian customers It further
discusses the fact that Marlboro is sold at "f`ull price" in Colombia The document also
states

Importance to Parent:

The Colombia operation in highly profitable for P.M. [Philip Morris] in view of

their full-price strategy for MARLBORO with its in-market sales volume

estimated at approximately 3 billions per year.
This document confirms the fact that the PH[LIP MORRIS DEFENDANTS were knowingly
engaged in a massive smuggling scheme given that, as of the date of this document, the PH[LIP
MORRIS DEFENDANTS had no legal sales of Marlboro cigarettes in Colombia whatsoever At
the time of this memorandum, the PH]LIP l\/IORRIS DEFENDANTS were just beginning to
initiate a program whereby their cigarettes could be legally sold in Colombia and the PHILIP
MORRIS DEFENDANTS had no direct sales into Colombia Accordingly, the "3 billions per

year" (believed to mean three billion cigarettes per year) Were all smuggled cigarettes

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z. The PHILIP MORRIS DEFENDANTS developed a strategic plan for the
Latin America region for the years 1991 through 1993. That plan analyzes each country in Latin
America, but fails to specifically analyze Colombia because in 1991 there were no direct sales of
PH]LIP MORRIS DEFENDANTS cigarettes in Colombia. However, within the documents the
PHILIP MORRIS DEFENDANTS identify key customers who were buying cigarettes prior to
and during 1991 from the PH[LIP MORRIS DEFENDANTS. Those customers were, in fact,
selling their cigarettes in Colombia and this fact was well known to the PHILIP MORRIS
DEFENDANTS. This document was transmitted to various personnel within the PHILIP
MORRIS DEFENDANTS in the United States by way of the U.S. mail and/or wire
transmissions

aa. Even prior to the time in which the PH]LIP MORRIS DEFENDANTS were
themselves legally allowed to sell their cigarettes in Colombia, the PHIL[P MORRIS
DEFENDANTS were actively selling their cigarettes to several major customers who they knew
were illegally selling their cigarettes in Colombia. PH[LIP MORRIS DEFENDANTS'
documents reflect their customers and accounts receivable as to various customers The
documents specifically refer to primary clients who sold cigarettes continually for PHILIP
MORRIS DEFENDANTS both before and after it was legal to sell PH]LIP MORRIS
DEFENDANTS products in Colombia Some of these individuals are well known to be involved
in criminal activities such as money laundering In spite of the fact that the PHILIP MORRIS
DEFENDANTS were well aware of these individuals' activities they continued to, and to the
best knowledge of the Plaintiffs still continue to sell large quantities of PHILIP MORRIS
DEFENDANTS cigarettes to these individuals so that they can sell them illegally in Colombia

The strategic plan for Latin America, including Colombia, was developed and implemented by

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the Defendant, PH]LIP MORRIS INTERNATIONAL, INC. The strategic plan was developed
by PHILIP MORRIS INTERNATIGNAL, INC. in its offices in New York and distributed to at
least sixteen officers and/or employees within the PH]L]P MORRIS DEFENDANTS. The 1991-
1993 strategic plan does not mention Colombia by name because as of 1991 there were no legal
sales of PHILIP MORRIS cigarettes in Colombia. However, under the heading "DUTY FREE,"
the strategic plan notes sales of 3.4 billion cigarettes in 1990 with volume expected to reach 3 .9
billion cigarettes in 1993. The document also reflects that the majority of cigarettes sold under
the guise of "duty free" are, in fact, being sold to "tax-free customers" who are, in fact,
individuals known to the PH]LIP MORRIS DEFENDANTS as selling virtually all of their
cigarettes to smugglers in Colombia.
bb. Beginning in the 1990s the PHILIP MORRIS DEFENDANTS engaged in

price fixing in regard to South America and, in particular, Colombia. A letter dated August 26,
1991, fi'om one ofPH.[LIP MORRIS DEFENDANTS' competitors sets forth the PII]LIP
MORRIS DEFENDANTS' marketing strategy in South America The document sets forth the
PH]LIP MORRIS DEFENDANTS' strategy in regard to transit (smuggled) cigarettes in South
America The document states among other things:

PM] [Philip Morris] has Belmont from Ecuador positioned'as the cheapest transit

brand in 20's though some Minister is now being sold on the streets at the same

price
The document goes on to state:

PMI has reduced the price of Parliament transited into Colombia to US$ 170 per
case and has other lntemational Brands like L & M waiting

The document further states:

Scull [a Philip Morris executive] demands that Bigott‘s BES and Belmont Largos
are the same price in exports That is a bluff

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This document clearly demonstrates the ongoing battle between the PH[LIP MORRIS
DEFENDANTS and their competitors for market share in Colombia and the fact that the
PH]LIP MORRIS DEFENDANTS were actively using smuggling as a means to enhance
their market share v l j

cc. A 1993 report from one of the PH[L[P MORRIS DEFENDANTS'
competitors provided a detailed analysis of both the legal and smuggled cigarette market
in Colombia In the report the author specifically noted that Marlboro Reds were
"'dominant No. 1 D.N.P. brand in Cali. Large billboards +- 150 placed in capital cities."
As to the PI-ULIP MORRIS DEFENDANTS' Parliament, the report stated: "Good '
D.N.P. distribution (60%) in Bogota. [P]rice reduction last year helped trade push it
through. " This document further demonstrates the extent to which the PHILIP MGRRIS
DEFENDANTS treated smuggled cigarettes as a key part of their business

dd. As of 1995, the PHILIP MORRIS DEFENDANTS were actively
and aggressiver promoting smuggling as a way to destabilize markets and increase
market share in Latin America.

ee. Throughout the 1990s the PHILIP M()RRIS DEFENDANTS have
been involved not only in the smuggling of cigarettes but also the fixing of prices on
smuggled cigarettes throughout the world. T he fixing of prices is essential to maintaining
the Defendants' control over the smuggling operation A conspiracy between the PHlLIP
l\/IORRIS DEFENDANTS and other cigarette companies to fix prices on smuggled
cigarettes and to coordinate smuggling activities in South America began at a meeting at
the John F. Kennedy International Airport in Queens New York, on February 14, 1992.

That meeting was attended by Peter Schreer and F red Hauser representing the PH]LIP

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MORRIS DEFENDANTS. At that meeting to the best knowledge of the Plaintiffs the
PHILIP MORRIS DEFENDANTS and other cigarette companies met for the first time to
set forth a strategy to coordinate their illegal activities in South America. At that
meeting it was agreed that there would be future meetings 1`his meeting as well as
others among these parties was arranged and conducted through the Defendants' use of
the interstate and/or foreign wires and mails inasmuch as it was the custom and practice
of Defendants to coordinate scheduling of, and make arrangements and reservations for,
such meetings through use of the wires and mails shortly before the time of the meeting
and to circulate the minutes of the meetings through the mails and/or facsimile wire
transmissions shortly after the time of the meeting

fi`. As a consequence of the meeting at John F. Kennedy International
Airport in February 1992, a follow-up meeting was held on August 5, 1992, between
representatives of the PH]LIP MORRIS DEFENDANTS and representatives of other
cigarette companies At that meeting the PH[LIP MORRIS representatives discussed not
only a price-fixing scheme for legally sold cigarettes but also a price-fixing scheme for
smuggled cigarettes in South America. The minutes of that meeting specifically refer to
the setting of a price on “DNP” cigarettes in South America “DNP” stands for “duty not
paid” and is the industry euphemism for smuggled cigarettes The PH[LIP MORRIS
DEFENDANTS' representatives who attended and directed this meeting were Peter
Schreer, President of the Latin-American Region for PH[LIP MORRIS, Rafael Arguelles
Vice-President for the Latin-American Region for PHILIP MORRIS, and Fred Hauser,
Vice-President for Central America, Puerto Rico, and Dominican Republic for PHILIP

MORRIS. This meeting was arranged by the participants through the use of the U.S.

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7 wires and/or mails including communications between Peter Schreer in New York and
the representative of the other cigarette companies on June 18, 1992. In fact, agreements
between the PHlL[P MORRIS DEFENDANTS and other cigarette companies on price-
fixing of cigarettes continued throughout the 1990s in spite of the fact that it was known
by these Defendants that price fixing was illegal

gg. At the meeting of August 5, 1992, the representatives of the PHILIP
MORRIS DEFENDANTS agreed that they should explore a common industry lobby position on
the "Andean Pack" [sic] particularly for Venezuela and Colombia. Among other purposes this
industry lobby position was intended to be used as a vehicle to fight increased cigarette taxes It '
was agreed that the industry lobby position would be coordinated through Cesar Rodriguez,
PH]LIP MORRIS DEFENDANTS' public affairs man in New York.

hh. The PHlLIP MORRIS DEFENDANTS were conspirators and direct
participants in the affairs of the smuggling enterprise and each participant in the conspiracy is
responsible for the actions of the others in pursuit of the smuggling scheme Acting for the
benefit of the PHIL]P MORRIS DEFENDANTS, and with the knowledge and authorization of
corporate executives of the PH[LIP MORRIS DEFENDANTS, the PHILIP MORRIS
DEFENDANTS, acting with and through their conspirators agents and employees carried out
the foregoing activities to facilitate the smuggling scheme

ii. T he acts and omissions of the individuals employed by the PH[L[P
MORRIS DEFENDANTS are imputed to the PI-]]LIP MORRIS DEFENDANTS under the
doctrines of vicarious liability and respondeat superior. The PHILIP MORRIS DEFENDANTS
actually benefited from the performance of predicate acts through increased sales profits brand

name recognition, and market share The PHILIP MORRIS DEFENDANTS and their

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employees were central figures and aggressors in the fraudulent scheme, and PHILIP MORRIS
personnel and executives performed their fraudulent acts on behalf of the PH]LIP MORRIS
DEFENDANTS within the scope and course of their employment with PH]LIP M()RRIS
DEFENDANTS v - f

jj. The PHILIP MORRIS DEFENDANTS are liable under principles of
agency Each of the PH[LIP MORRIS DEFENDANTS is responsible for the conduct of its
supervisory employees who had either intentionally disregarded the law and violated the
PLAINTIFFS’ rights or had acted with plain indifference or Willful blindness to the law and
PLAINTIFFS ’ rights

kk. During all relevant times the PH]LIP MORRIS DEFENDANTS
communicated with each other and with their co-conspirators on virtually a daily basis by means
of interstate and international mails and wires as a means of obtaining orders for cigarettes
arranging for sale and shipment of contraband cigarettes and arranging for and receiving
payment for the cigarettes in question

ll. The PHlL]P MORRIS DEFENDANTS and/or their co-conspirators
utilized the United States and international mails and wires and other means of communications
to prepare and transmit documents that misstate the ultimate destination and value of the
cigarettes in question so as to mislead the authorities within the United States and Colombia in
regard to the actual destination and value of cigarettes that are transported into Colombia The
Republic of Colombia reasonably relied on said misrepresentations of fact and material
omissions in accounting for the cigarettes in question and assessing customs duties on cigarettes
entering the Republic of Colombia, and THE DEPARTMENTS OF THE REPUBLIC OF

COLOMBIA were damaged as a result of such reliance

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mm. The Defendants their subsidiary corporations and their co-conspirators
use the United States mail and telephonic and other wire forms of communication on a continual
basis to pay for the smuggled cigarettes confirm billing and payment for the smuggled
cigarettes to account for the payment of the smuggled cigarettes to the Defendants and their
subsidiaries and to maintain an accounting of the proceeds received by the Defendants from the
sale of the illegal cigarettes with said proceeds ultimately being returned to the Defendants in
the United States.

nn. The Defendants’ co-conspirators the distributors and smugglers utilize
the United States mail and wire communications on a continuing basis in order to determine
marketing strategies order cigarettes arrange for sale of the cigarettes arrange for distribution of
cigarettes arrange for payment of cigarettes and to support other aspects of the smuggling
scheme

oo. At all relevant times the PHILIP MORRIS DEFENDANTS devised`, or
intended to devise, a scheme or artifice to defraud Plaintiffs and used, or caused the use of, mail
and wire communications in interstate and foreign commerce to further the scheme The scheme
to defraud and cheat was inconsistent with moral uprightness fundamental honesty, fair play and
right dealing in the general and business life of members of society In the execution of or
attempt to execute this scheme, Defendants used the United States interstate and foreign mail in
violation of 18 U.S.C., Sections 2 and 1341, and interstate and foreign Wires radio, and
television, in violation of 18 U.S.C., Sections 2 and 1343.

pp. In that the illegal sale of cigarettes into THE DEPARTMENTS OF THE

REPUBLIC OF COLOMBIA is a multi-million dollar per year operation and is ongoing on a

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daily basis it is impractical and impossible to delineate each fraudulent communication in what
is a pervasive and ongoing use of the mails and wires in furtherance of the smuggling activities

qq. The PHILIP MORRIS DEFENDANTS, in addition to using the mail and
wire communications themselves caused the mailing and use of wire communications in that
they acted with knowledge that the use of the mail and/or wire communications would follow in
the ordinary course of business and/or could be reasonably foreseen as a result of their activities
and the mailing or use of wire communications was for the purpose of executing the scheme, to
wit, the smuggling activities The aforesaid mail and wire transmissions furthered the scheme
and were incidental to an essential part of the scheme in that the aforesaid communications were
necessary for the co-conspirators, who were separated by great distances to effectuate their
common goals within the smuggling enterprise

rr; The PHILIP MORRIS DEFENDANTS have used, and continue to use, the
wires mails and the internet to further their scheme to defraud Plaintiffs and deprive them of
money and property, while attempting to conceal their complicity in the smuggling scheme

The PH[LIP MORRIS DEFENDANTS have falsely denied their complicity in
smuggling activities (i.) The PH[LIP MORRIS DEFENDANTS falsely denied involvement in
smuggling and claimed that the smuggling was "unfairly" conducted by~"someone who carries
[Philip Morris] products." Letter from Elizabeth Cho, spokesperson for PHILIF MORRIS
INTERNATIONAL, INC., to Center for Public Integrity, Washington7 D.C., sent by facsimile
transmission in late January or February 2000', (ii.) The PHILIP MORRIS DEFENDANTS
falsely announced: "We will not condone, facilitate or support contraband or money
laundering " but failed to disclose that the PHILIP MORRIS DEFENDANTS controlled,

directed, and profited from smuggling activities for many years Letter from Elizabeth Cho,

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spokesperson for PHILIP MORRIS INTERNATIONAL, INC. to the Center for Public Integiity
in Washington, D.C., sent by facsimile transmission in January or February 2000; (iii.) On or
about February 1, 2000, in a statement to the Los Angeles Tz`mes, the PH]LIP MORRIS
- DEFENDANTS falsely stated: "We believe the amount our Colombian affiliate spent on

advertising was not out of line with the scale of its business there." In fact, there is no rational
basis for the Defendants to conclude that its advertising costs were justified by their volume of
otherwise legitimate duty-paid sales in Colombia.

ss The PfMIP MORRIS DEFENDANTS have falsely stated that smuggling
was and is outside of their control Specifically, in or about January or February 2000, the
PHIL]P MORRIS DEFENDANTS asserted that "anti-contraband" efforts were the responsibility
of "customs administration border security forces or the law enforcement departments" of other
countries but failed to disclose that the PHILIP MORRIS DEFENDANTS are and have been
engaged in distribution to the “black market,” and that the Defendants have control over such
distribution Letter from Elizabeth Cho, spokesperson for PHlLIP MORRIS
INTERNATIONAL, INC., to Center for Public lntegrity in Washington, D.C., sent by facsimile
transmission in January or February 2000.

The PH]LIP MORRIS DEFENDANTS have falsely asserted that they have cooperated
with governmental efforts to end smuggling In or about January 2000, the PI-I[LIP MORRIS
DEFENDANTS falsely asserted that they "have been actively involved in supporting
governments anti-contraband programs in many countries around the world" and that they were
engaged in "on-going discussions regarding a cooperative agreement we have offered the
Colombian government to assist its efforts in fighting contraband." The Defendants failed to

disclose that the PHIL]P M()RRIS DEFENDANTS are and have been engaged in distribution to

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the “black market,” and that the Defendants have done all they can to undermine governmental
efforts to end smuggling Letter from Elizabeth Cho, spokesperson for PHILIP MORRIS
INTERNATIONAL, INC,, to Center for Public Integrity in Washington, D.C., sent by facsimile
transmission in January or February 2000. ' v
The PHILIP MORRIS DEFENDANTS have falsely stated that smuggling is caused by
high taxes In or about January or February 2000, the PHILIP MORRIS DEFENDANTS falsely
asserted that smuggling results f`rom "extremely high levels of taxation" and "in some cases
trade restrictions " The Defendants failed to disclose that smuggling Was caused by the practices
and policies of the PHILIP MORRIS DEFENDANTS The Defendants further failed to disclose
that the PHILlP MORRIS DEFENDANTS are and have been engaged in distribution to the
“black market” Letter from Elizabeth Cho, spokesperson for PI-]]LIP MORRIS
INTERNATIONAL, INC., to Center for Public Integrity in Washington7 D.C., sent by facsimile
transmission in January or February 2000.
tt. On January 21, 2000, PH[L]P MORRIS DEFENDANTS sent a letter to
the Colombian Federation of Governors asserting that there was no basis for the Plaintiffs to go
forward with this action The Defendants asserted that a recent decision regarding Guatamala
barred this action In fact, however, the letter contained false statements because the noted
decision has no relevance whatsoever to a claim arising from Defendants‘ racketeering acts taken
in pursuit of their scheme to defraud Plaintiffs of business and property and violations of
common law. Plaintiffs relied upon the aforesaid false statements to their detriment and have
been damaged as a result of the false statements
28_ The above-described smuggling enterprise which is an association-in-fact, has

made hundreds of millions of dollars in illegal profits for the Defendants A large portion of

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these illegal profits are returned to the Defendants in their offices and facilities in the United
States

29. The smuggling of cigarettes has become such a major activity that criminals in
both the United States and Republic of Colombia have become involved in these activities The l
criminal nature of these activities has become so overwhelming that it will be difficult or
impossible for the law-enforcement agencies of the Republic of Colombia to combat cigarette
smuggling without cutting off the supply at the source The Colombian government has sought
to reduce the flow of illegal cigarettes out of the Maicao area by setting up a border-guard station
to stop and inspect vehicles The border-guard station was destroyed by smugglers using an anti-
tank weapon Several of the personnel manning that station were killed in the attack. The
DIAN, the Colombian customs authority, has attempted to increase its surveillance and
enforcement of smuggling in Maicao. As a result of these activities the DIAN office in Maicao
has been attacked and burned to the ground The Defendants knew or consciously avoided
knowledge and/or should have known that the illegal smuggling activities that the Defendants
are supporting are being conducted by and/or for the benefit of said criminals

30. All the aforesaid activities occurred with both the knowledge and the direction of
persons at both middle management and high-level management positions within the Defendant
corporations A substantial percentage of the cigarettes that are utilized in this enterprise are
shipped from the United States The vast majority of the activities of the PH[LIP MORRIS
DEFENDANTS that are the subject matter of this complaint, including management decisions
and direction of the enterprise were and are conducted by the Defendants in the United States

and, more particularly from the Defendants’ offices in the State of New York.

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31. The majority of the conduct of the Defendants which is material to this case is
conducted by the Defendants in the United States There is a substantial effect experienced in
the United States as a result of the enterprise that is the subject matter of this complaint in that:

a. ' The Defendants receive, and have received, the profits of said enterprise in
the United States

b. Criminals derive substantial income from the enterprise that they receive
in the United States and for which they do not pay federal income tax.

c. Large volumes of false documents have been filed with the United States
Customs Service so as to deceive the United States Customs Service and allow the smuggling to
continue

32. The existence of smuggling has been utilized as a public-relations and lobbying
tool by which the Defendants have conspired to prevent the United States and the individual
states of the United States nom raising cigarette taxes by threatening that if taxes are raised there
will be smuggling and the related economic problems that have haunted other countries for the
past ten years The Defendants and other cigarette companies provide funding for organizations
such as the National Coalition Against Crime that purports to be a citizens group aimed at
reducing crime by legitimate means when, in fact, it is nothing more than a public-relations and
lobbying front for the tobacco industry

33. As to all of the predicate acts set forth above, they share the same purpose and the

same victim, to wit7 THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

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VI. DAMAGES AND REMEDIES

34. The Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA
and SANTA FE DE BOGOTA, CAPITAL DISTRICT, are autonomous governmental entities
As a result of the activities of the Defendants large amounts of cigarettes are smuggled into THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA and the proper taxes are not paid on
the aforesaid cigarettes As a result of the Defendants’ wrongful activities the Plaintiffs THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been deprived of the money and
property that they would have obtained from the lawful importation and sale of cigarettes

35. As a direct and proximate result of the smuggling activities that are conducted,
aided, and encouraged by the Defendants THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA are currently losing hundreds of millions of dollars per year. THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA have been deprived of money and l
property in this manner throughout the 1990s If the smuggling activities`of the Defendants are
not stopped, THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA will continue to lose
money and property in the future In addition, THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA have been required to expend large amounts of money in their efforts to stop
smuggling and to recoup funds that they have lost as a result of the activities of the Defendants
In addition, THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA have suffered
economic losses as a result of the under-invoicing of cigarettes that were otherwise legally
imported into Colombia by the Defendants Said losses will continue into the future, absent

judgment in Plaintiffs' favor and injunctive and equitable relief, including an order that:

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a. Enjoins the Defendants and their respective agents servants officers
directors employees and all persons acting in concert with them from selling cigarettes to
smugglers or to distributors who sell cigarettes to smugglers or otherwise violating 18 U.S.C. §
1962 or any common law standard; and compels each of the Defendants who have been found to
have violated 18 U.S.C. § 1962 and/or any common law standard te disgorge all proceeds
derived from any such violation and to make restitution to Plaintiffs

b. Enj oins the Defendants and their respective agents servants officers
directors employees and all persons acting in concert with them nom selling cigarettes without
proper documentation7 shipping records markings and similar indicia of compliance with law
that will allow the proper tracking of the cigarettes so that they cannot be sold illegally

c. Enjoins the Defendants and their respective agents servants officers
directors employees and all persons acting in concert with them from selling cigarettes to any
distributor or any other person who cannot fully and accurately account for where the cigarettes
will ultimately be sold

d. Enjoins the Defendants and their respective agents servants officers
directors employees and all persons acting in concert with them from engaging in any practices
by which distributors shippers or smugglers can pay for the cigarettes in question into offshore
corporations offshore bank accounts or other locations that limit the ability of Colombian
officials to track the sale of cigarettes or the payment for said cigarettes

e. Orders the Defendants to create and utilize adequate protocols by which
all cigarettes manufactured by the Defendants and all payments made for said cigarettes into

THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA can be adequately tracked and

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monitored by governmental officials of THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA.

f. Orders the Defendants to take all reasonable and necessary steps to stop
the smuggling oftheir products interim DEPARTMENTS or THE REPUBLIC or `
COLOMBIA including the addition of any necessary labeling tracking devices or other means
that would allow the Defendants themselves and/or offices of THE DEPARTMENTS OF THE
REPUBLIC OF COLOMBIA to track and monitor the movement of cigarettes into and within
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

g Orders the Defendants to disclose all knowledge within their possession
concerning the names locations activities and procedures of smugglers

h. Orders the Defendants to sell and ship cigarettes in accordance with the
legitimate demand for the cigarettes manufactured by the Defendants such that the only quantity
of cigarettes that are sold to any customer are those which can be demonstrated to be actually
consumed or sold legitimately by that customer For purposes of this complaint, all of the
foregoing injunctive and equitable remedies and those injunctive and equitable remedies that
may hereafter be sought by Plaintiffs or ordered by the Court, shall be referred to herein as:
"Injunctive and Equitable Relief. "

COUNT I
(AS TO THE PH[LIP MORRIS DEFENDANTS)
(RICO; 18 U.S,C. § 1962(a))
36. Plaintiffs restate and reallege paragraphs one (l) through thirty-five (35) and

further allege:

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37 . The PHIL[P MORRIS DEFENDANTS, along with their co-conspirators in the
smuggling scheme, including associated distributors shippers currency dealers currency
brokers lobbyists and other participants in the scheme identified above, were, during the
relevant-times herein, an association-in-fact of individuals and corporations engaged in, and the
activities of which affected, interstate and foreign commerce and thus constitutes an “enterprise”
Within the meaning of 18 U.S.C. § 1961(4) (the “PM Smuggling Enterprise”). These persons
and entities were and are associated in fact for the purpose among others of illegally smuggling
contraband cigarettes into THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA to the
economic detriment of Plaintiffs The PM Smuggling Enterprise is an ongoing organization
whose constituent elements function as a continuing unit for the common purpose of maximizing
the sale of tobacco products through illegal means and carrying out other elements of the
Defendants' scheme The PM Smuggling Enterprise has an ascertainable structure and purpose
beyond the scope of the Defendants' predicate acts and the conspiracy to commit such acts and it
possesses an infrastructure and chain of command that is distinct and separate from the corporate
structure of` the PHlLlP MORRIS DEFENDANTS The PM Smuggling Enterprise has engaged
in, and its activities have affected, interstate and foreign commerce The PM Smuggling
Enterprise continues to date through the concerted activities of the Defendants to disguise the
nature of the wrongdoing to conceal the proceeds thereof, and to conceal the Defendants'
participation in the Enterprise in order to avoid and/or minimize their exposure to criminal and
civil penalties and damages The role of each Defendant in the Enterprise has been set forth
above

38. In connection with the Haudulent scheme set forth above, and to further its aims

the PHILIP MORRIS DEFENDANTS have engaged in numerous acts of “racketeering activity,”

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and each defendant has aided and abetted each other defendant in committing those acts of
“racketeering activity” within the meaning of RICO. 18 U.S.C, §1961, e_t sgt The PH]I,IP
MORRIS DEFENDANTS, as well as their co-conspirators have committed multiple predicate
acts of racketeering including but not limited to: ‘ l

a. wire fraud and mail aaud. (is U.s.c. §§ 13"41, 1343, 1961(1)(13)). rha
PH]L]]? MORRIS DEFENDANTS devised a scheme or artifice to defraud or to obtain money by
means of false pretenses representations or promises and used the mails and wires for the
purpose of executing the scheme,` and acted with a specific intent to defraud by devising
participating and/or abetting the scheme The timing of the wire and mail communications was
during the course of the conspiracy that covered at least 1991 to 1999.` There Were hundreds of
telephone conversations and faxes on virtually a daily basis during the course of the conspiracy
These telephone conversations furthered the scheme by maintaining an adequate and consistent
supply of cigarettes to fuel the illicit sales in THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA and were part of a clandestine system for the remittance of the proceeds of the
scheme to the PH]LIP MORRIS DEFENDANTS The PHILIP MORRIS DEFENDANTS,
acting through their employees agents and co-conspirators made or caused to be made such
telephone calls to further the scheme The PHILIP MCRRIS DEFENDANTS knew or should
have foreseen that their co-conspirators in the course of carrying out the PH[LIP MORRIS
DEFENDANTS’ directions and orders would use or cause to be used the interstate and
international wires and mails The motive for committing fraud is plain: money not paid to
Plaintiffs meant increased profits and market share for the PH[LIP MORRIS DEFENDANTS

b. Violation of the Travel Act. (18 U.S.C. §§ 1952, 1961(1)(B)).

Defendants traveled in interstate or foreign commerce and used facilities in interstate and

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foreign commerce, including the mail, with intent to distribute the proceeds of unlawful activity,
and promote manage establish, carry on, or facilitate the promotion, management
establishment or carrying on of unlawful activity, and thereafter performed or attempted to
perform unlawful activity Defendants knew that the currency provided to them represented the
proceeds of unlawful activity, including trafficking in narcotics and controlled substances and
that, by accepting such payments aided the efforts of the drug traffickers to launder their ill-
gotten gains and fuel the Black Market Peso Exchange. Defendants and their representatives
and co-conspirators, traveled across national borders and otherwise used the facilities of foreign
commerce in order to distribute the proceeds of unlawful activity to the benefit of the PHILIP
MORRIS DEFENDANTS By this conduct, defendants promoted, managed, established, and
facilitated such unlawful activity

c.' Money Laundering. (18 U.S.C. §§ 1956(a)(1), 1961(1)(B)). The
Defendants knowing that the property involved in a financial transaction represented the
proceeds of some form of unlawful activity, conducted or attempted to conduct financial
transactions in interstate and foreign commerce involving the proceeds of specified unlawful
activity with intent to promote the carrying on of specified unlawful activity; or, knowing that
the transaction is designed in whole or in part to conceal or disguise the nature, the location, the
source of ownership, or the control of the proceeds of specified unlawful activity, or, knowing
that the transaction is designed in whole or in part to avoid a transaction reporting requirement
under State or F ederal law. Defendants knew that the currency that they received in exchange
for the smuggled cigarettes represented the proceeds of specified unlawful activity, including but
not limited to7 wire fraud, mail fraud, and violations of the Travel Act, and an offense against a

foreign nation involving the manufacture importation, sale or distribution of a controlled

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substance Defendants knowingly conducted and attempted to conduct such financial
transactions with intent to promote the carrying on of such unlawful activity In addition,
defendants knowingly conducted and attempted to conduct such financial transactions with intent
l to conceal or disguise the nature (proceeds of racketeering activity and smuggling), the location
(proceeds generated by activity on the “black market” in South America), the source (drug
traffickers money launderers smugglers), or the control (PHILIP MORRIS DEFENDANTS) of
the proceeds of specified unlawful activity Finally, defendants knowingly conducted and
attempted to conduct such financial transactions to avoid a transaction reporting requirement
under State or Federal law, including but not limited to, currency and monetary instrument
reports
d. International Money Laundering. (18 U.S.C. §§ 1956(a)(2), 1961(1)(B)).
Defendants transported transmitted and/or transferred a monetary instrument or funds to a place
in the United States from or through a place outside the United States with intent to promote the
carrying on of specified unlawful activity, or, knowing that the monetary instrument or funds
involved in the transportation, transmission, or transfer represented the proceeds of some form of
unlawful activity and knowing that such transportation transmission or transfer is designed in
whole or in part to conceal or disguise the nature, the location, the source, the ownership, or the
control of specified unlawful activity, or to avoid a transaction reporting requirement under State
or Federal law. By such conduct, Defendants engaged in financial transactions within the
meaning of 18 U.S.C. § 1956(c)(4). Defendants knew that the money orders and funds that were
sent from South America and received in New York and elsewhere in the United States
represented the proceeds of specified unlawful activity, including but not limited to, wire f`raud,

mail fraud, and violations of the Travel Act, and an offense against a foreign nation involving the

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manufacture importation, sale or distribution of a controlled substance Defendants also aided
and abetted violations of 18 U.S.C. § 1956(a)(1) and § 1956(a)(2).
e. Conspiracy to Engage in Money Laundering. ( 18 U.S.C. §§ 1956(h),

l 1961(1)). Defendants conspired to commit offenses defined in 18 U.S.C. § 1956 - including §
195 6(a)(1) and § 1956(a)(2). Defendants by their words and actions agreed to accept currency,
monetary instruments and funds with the knowledge that the currency, monetary instruments
and funds represented the proceeds of specified unlawful activity conducted by themselves and
their co`-conspirators. Defendants adopted the commonpurp-ose of the conspiracy and
participated in its consummation The goal of the money laundering conspiracy was to deprive
Plaintiffs of money and property, while assuring that the profits derived fi'om smuggling
activities were repatriated to the benefit of the PH[LIP MORRIS DEFENDANTS in a
clandestine manner to avoid detection and prosecution f

f. Money Laundering. (18 U.S.C. § 1957, 1961(1)). Defendants knowingly
engaged or attempted to engage in monetary transactions in the United States in criminally
derived property that is of a value greater than $10,000 and is derived from specified unlawful
activity 18 U.S.C. § 1957(1)(3) and § 1956(c)(7)(A). Defendants engaged in monetary
transactions including deposits withdrawals transfers or exchanges in or affecting interstate or
foreign commerce of funds or monetary instruments by, through or to a financial institution
Defendants knew that the monetary transactions received in exchange for the smuggled
cigarettes represented the proceeds of specified unlawful activity, including but not limited to,
wire fraud, mail fraud, and violations of the Travel Act, and an offense against a foreign nation

involving the manufacture importation, sale or distribution of a controlled substance

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39. The foregoing acts form a “pattern” of racketeering activity within 18 U.S.C. §
1961(5). The Defendants and others with whom they have been associated have been related in
their common objectives of maximizing global sales of tobacco products and defrauding the
Plaintiffs of the money and property to which the Plaintiffs are lawfully entitled The
Defendants’ predicate acts have had the same or similar purposes results participants victims
and methods of commission and occurred over at least a ten-year period The predicate acts
have been consistently repeated and are capable of further repetition

40. The Defendants conducted or participated directly or indirectly, in the conduct of
the PM Smuggling Enterprise’s affairs through a pattern of racketeering activity in violation of
18 U.S.C. §§ 1962(a), (b), and (c). '1` he Defendants' pattern of racketeering activities dates from
at least January 1, 1985, through the present and threatens to continue in the future

41. The PH]LIP MORRIS DEFENDANTS used or invested, directly or indirectly,
racketeering income or a part thereof, or the proceeds of such income to acquire an interest in,
establish, and operate the PM Smuggling Enterprise which is and was engaged in, or the
activities of which affect and have aff`ected, interstate or foreign commerce in violation of 18
U.S.C. § 1962(a). The PH]LIP MORRIS DEFENDANTS were principals in the racketeering
scheme Plaintiffs suffered multiple injuries to their economic interests as a result of this use and
investment of racketeering income

42. Specifically, the PH]LIP MORRIS DEFENDANTS received the income and
proceeds of a pattern of racketeering activity, including an international money-laundering
scheme acts of wire fraud and mail fraud, and violations of the Travel Act. Upon their receipt of
such ill-gotten gains by wire transfers from the smugglers and/or their associates the PH[L[P

MORRIS DEFENDANTS used and invested such income and proceeds or a portion thereof, to

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acquire an interest in, establish and operate the PM Smuggling Enterprise which was and is
engaged in interstate and foreign commerce In particular, the PH]LIP MORRIS
DEFENDANTS used the proceeds of the scheme to: (a) operate the PM Smuggling Enterprise
(b) replenish the supply of contraband cigarettes for ultimate sale on the-Colombian “black
market”; (c) acquire purchase and subsidize facilities necessary to the PM Smuggling
Enterprise including manufacturing sales and distribution operations (d) compensate
employees and agents of the PH[L]P MORRIS DEFENDANTS engaged in the smuggling
activities (e) pay expenses incurred in connection with smuggling activities such as telephone
bills incurred in the wire fraud scheme and travel costs incurred by such employees (f) create
umbrella operations which, while operating at a loss provided the framework which allowed the
Defendants to promote the smuggling and (g) establish a flourishing “black market” for the sale
of contraband cigarettes In sum, the PH]LIP MORRIS DEFENDANTS did not reinvest the
proceeds of racketeering activity in their general business operations but instead, used and
invested such proceeds to establish the infrastructure of, acquire an interest in, and operate the
PM Smuggling Enterprise and it was this use and investment that harmed Plaintiffs The
Defendants used and invested the proceeds of racketeering activity to acquire an interest in,
establish, and operate the PM Smuggling Enterprise in several ways including but not limited to
the following:

a. Proceeds of the sale of billions of cigarettes in 1991 were used to establish
the umbrella operation which PH]LIP MORRIS DEFENDANTS created in 1992 and which

continues through the present

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b. The profits from cigarette sales were utilized to promote sales of further
smuggled products in Colombia, support the umbrella operation in Colombia, and finance the
expansion of the conspiracy within Colombia and into other countries in South America

c. l The profits from the sale of cigarettes smuggled into Colombia finance
the sales and marketing operations that promote the increase of those sales in succeeding years

43. Plaintiffs were injured in their business and property by reason of the PH[LIP
MORRIS DEFENDANTS’ use and investment of racketeering income to acquire establish, and
operate the PMVSmuggling Enterprise. Absent this use and investment of racketeering income
contraband sales to the Colombian “black market” by the PHILIP MORRIS DEFENDANTS and
their co-conspirators would have been difiicult if not impossible the infrastructure of the
smuggling enterprise could not have been created or functioned, and the economic injury to
Plaintiffs would have been avoided in whole or in part

44. As a direct and proximate result of the violations set forth above the Plaintiffs
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been injured in their
business and property as set forth more fully above in paragraphs thirty-four (34) through thirty-
five (35). The Defendants’ violations of 18 U.S.C. § l962(a) caused these losses Under the
provisions of 18 U.S.C. § 1964(c), the Plaintiffs are entitled to bring this action and recover
herein treble damages the cost of bringing the suit, pre-judgment interest, and reasonable

attorneys’ fees

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COUNT ll

(AS TO THE PHILIP MORRIS DEFENDANTS)
(RICO; 18 U.S.C. § 1962(b))

45. Plaintiffs restate and reallege paragraphs one (1) through forty-four (44) and
further allege:

46. The PH]LIP MORRIS DEFENDANTS acquired or maintained directly or
indirectly through a pattern of racketeering activity, an interest in and control of the PM
Smuggling Enterprise which was and is engaged in, or the activities of which affect and have
affected7 interstate or foreign commerce in violation of 18 U.S.C. § l962(b). The Plaintiffs THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been injured by the Defendants'
acquisition and maintenance of an interest in and control of the enterprise through a pattern of
racketeering activity

47. The Defendants acting through a pattern of racketeering activity, acquired or
maintained, directly or indirectly, an interest in and control of the PM Smuggling Enterprise
which is engaged in, and the activities of which affect, interstate and foreign commerce
Specifically, the PH]LIP MORRIS DEFENDANTS maintained control of the PM Smuggling
Enterprise by means of racketeering activities including for example (a) interstate and
international wire communications in violation of 18 U.S.C., Section 1343 (orders were placed
telephonically and the PH]L]P MORRIS DEFENDANTS had total control over the enterprise
and the distribution of its product); (b) money laundering in violation of 18 U.S.C., Sections
1956 and 1957 (PHILIP MORRIS DEFENDANTS controlled and concealed the flow of the
proceeds of the smuggling - a key aim of the scheme - through money laundering); (c)

violations of the Travel Act (18 U.S.C., Section 1952 (cross-border travel and transactions that

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facilitated smuggling and other illicit activities). Through this pattern of racketeering activities
which also included transmitting false statements to government authorities the PH]LIP
MGRRIS DEFENDANTS were able to acquire and maintain an interest in and control of the
PM Smuggling-Enterprise This interest and control furthered, concealed, and protected the
operations of the smuggling enterprise and thereby permitted the Pi\/f Smuggling Enterprise to
flourish without detection

48. As a direct and proximate result of the Defendants' acquisition and maintenance
of an interest in and control of the PM Smuggling Enterprise the Plaintiffs the
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been injured in their business
and property as set forth more fully above in paragraphs thirty-four (3 4) through thirty-five (35).
The Defendants' violations of 18 U.S.C. § 1962(b) caused these losses Under the provisions of
18 U.S.C. § 1964(c), the Plaintiffs are entitled to bring this action and recover herein treble

damages the cost of bringing the suit, pre-judgment interest, and reasonable attorneys’ fees

COUNT I]]

(As ro THE PHiLiP MoRRis DEFENDANTS)
(cho; is U.s.C. § 1962(a))

49. Plaintiffs restate and reallege paragraphs one (1) through forty-eight (48) and
further allege:
5 0. The PH]LIP MORRIS DEFENDANTS, through the commission of two or

more acts constituting a pattern of racketeering activity, directly or indirectly participated in the
operation or management of the PM Smuggling Enterprise the activities of which affect

interstate or foreign commerce

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51. At all relevant times the PI‘]ILIP MORRIS DEFENDANTS participated in
the operation or management of an “enterprise”, within the meaning of 18 U.S.C. § 1961(4).
The PHILIP MORRIS DEFENDANTS, acting together and individually,- operated, managed,
and exercised control of the PM Smuggling Enterprise by, among other things (a) establishing a
money laundering scheme by which the co-conspirators remitted to the PH]LIP MORRIS
DEFENDANTS the proceeds of the smuggling scheme (b) compelling the smugglers to sell
smuggled cigarettes at a price set by the Defendants (c) requiring the smugglers to keep detailed
records of sales of contraband cigarettes (d) instructing the smugglers to distribute particular
brands of cigarettes in specified markets (e) providing information to the smugglers to allow
them to avoid detection and apprehension; (f) investing and using the proceeds of the smuggling
scheme in the enterprise (g) creating incentives for increased sales on the “black market”; (h)
selling and distributing vast quantities of cigarettes at favorable prices (i) giving credit terms to
the smugglers that allowed the PH]LIP MORRIS Defendants to control the smuggling scheme
(j) fixing the price of contraband cigarettes in concert with other tobacco companies (k)
coordinating smuggling activities in concert with other tobacco companies

52. The money laundering scheme and the communications of the Defendants
concerning the operation of the PM Smuggling Enterprise were effectuated through the use of
interstate and foreign mails and wires It was the policy and practice of the PH]LIP MORRIS
DEFENDANTS that if the smugglers failed to follow the PHIL]P MORRIS DEFENDANTS’
specific orders the PH[LIP MORRIS DEFENDANTS would shut off the supply of favorably-
priced cigarettes to the smugglers and cut off the lifeblood of the smuggling scheme

53_ As a direct and proximate result of the violations set forth above the

Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been injured in

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their business and property as set forth more fully above in paragraphs thirty-four (34) through
thirty-five (3 5). The Defendants’ violations of 18 U.S.C. § l962(c) caused these losses Under
the provisions of 18 U.S.C. § 1964(c), the Plaintiffs are entitled to bring this action and recover
herein treble damages the cost of bringing the suit, pre-judgment interest, and reasonable

attorneys’ fees

COUNT IV
(AS TO THE PH[L[P MORRIS DEFENDANTS)
(RICO; 18 U.S.C. § 1962(d))

54. Plaintiffs restate and reallege paragraphs one (1) through fifty-three (53) and
further allege:

55.' The PHIL[P MORRIS DEFENDANTS entered into an agreement with each
other, and with distributors shippers currency dealers and smugglers to join in the conspiracy to
violate 18 U.S.C. §§ 1962(a), 1962(b), and 1962(c). Each defendant entered into an agreement
to join the conspiracy, and took acts in the furtherance of the conspiracy and knowingly
participated in the conspiracy The purpose of the conspiracy was to smuggle cigarettes into
THE DEPARTMENTS OF THE REPUBLIC OF COL()MBIA to the economic detriment of
Plaintiffs and to the economic benefit of the PHILIP MORRIS DEFENDANTS. The
conspirators carried out the scheme and each conspirator Was put on notice of the general nature
of the conspiracy, that the conspiracy extended beyond the individual role of any single member,
and that the conspiratorial venture functioned as a continuing unit for a common purpose The
PHILlP MORRIS DEFENDANTS adopted the goal of furthering and facilitating the criminal

endeavor Their stake in the smuggling venture was in making profits and increasing market

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share which they knew could come only from their informed and interested cooperation with
smugglers and their active assistance stimulation and instigation of the smuggling activities

56. The PH[LIP MORRIS DEFENDANTS, together with each member of the
conspiracy, agreed and conspired to violate: (1) 18 U.S.C. § l962(a) by using or causing the use
of`, income they derived from the above-described pattern of racketeering activities in the
acquisition establishment and/or operation of the enterprise the activities of which affect
interstate or foreign commerce (2) 18 U.S.C. § 1962(b) by acquiring or maintaining or causing
the acquisition or maintenance of`, through a pattern of racketeering activity, an interest or control
in the enterprise the activities of which affect interstate or foreign commerce and, (3) 18 U.S.C.
§ l962(c) by participating directly and indirectly, in the operation and management of the affairs
of the enterprise through a pattern of racketeering activity, including an agreement that the
conspirators or one ofthem, would commit or cause the commission of two or more
racketeering acts constituting such a pattern

5 7. The PHILIP MORRIS DEFENDANTS participated in and cooperated with each
other and with their co-conspirators in the aforementioned conspiracy that enabled each cigarette
manufacturer and distributor to enhance its market share suppress its competition and promote
sale of its products

58. As a part of their conspiracy, the PH]LIP MORRIS DEFENDANTS retained
various lobbyists funded “research,” and conducted a joint public-relations campaign so as to
misstate the nature and scope of cigarette smuggling and so as to promote their own interests

59. The PH]LIP MORRIS DEFENDANTS actively participated in the conspiracy to
smuggle cigarettes and to generate false and misleading information concerning smuggling

activities

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60. As a result of the conspiracy, the PHILIP MORRIS DEFENDANTS and their co-
conspirators were able to facilitate the smuggling of large volumes of cigarettes into THE
DEPARTMENTS OF THE REPUBLIC OF COL()MBIA.

. 61. The membership of the conspiracy in question included the PH[LIP MORRIS
DEFENDANTS, tobacco distributors the shippers the smugglers currency brokers and the
PHILIP MORRIS DEFENDANTS' subsidiary corporations in Switzerland and elsewhere who
act in concert to produce the cigarettes mislabel or fail to properly label the cigarettes smuggle
and sell the cigarettes and arrange for payment in a way that is undetectable by governmental
authorities with said payment ultimately being returned to the Defendants in the United States
As co-conspirators the PHlLlP MORRIS DEFENDANTS are liable for all of the actions
committed by all of the co-conspirators within the conspiracy and are liable for all of the
damages sustained by THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA that were
caused by any members ofthe'conspiracy, regardless of whether the PH]LIP MGRRIS
DEFENDANTS were themselves directly involved in a particular aspect of the enterprise

62. As a direct and proximate result of the violations set forth above the Plaintiffs
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, have been injured in their
business and property as set forth more fully above in paragraphs thirty-four (34) through thirty-
five (3 5). The Defendants’ violations of 18 U.S.C. § 1962(d) caused these losses Under the
provisions of 18 U.S.C. § 1964(c), the Plaintiffs are entitled to bring this action and recover
herein treble damages the cost of bringing the suit, pre-judgment interest, and reasonable

attorneys’ fees

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COUNT V
(AS TO THE PH]LIP MORRIS DEFENDANTS)
(RICO; 18 U.S.C. § 1964(a)) `

63. Plaintiffs restate and reallege paragraphs one (1) through sixty-two (62) and
further allege:

64. The United States District Court is empowered to prevent and restrain violations
of 18 U.S.C. § 1962 by issuing appropriate orders including, but not limited to: ordering any
person to divest himself or herself of any interest, direct or indirect, in any enterprise; imposing
reasonable restrictions on the future activities or investments of any person, including, but not
limited to, prohibiting any person from engaging inthe same type of endeavor as the enterprise
engaged in, the activities of which affect interstate or foreign commerce; or ordering dissolution
or reorganization of any enterprise, making due provision for the rights of innocent persons 18
U.S.C. § 1964(a).

65, The PH[LIP MORRIS DEFENDANTS are currently engaged in the activities set
forth within this Complaint that promote and support the smuggling of contraband cigarettes into
THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

66. The Defendants intend to and continue to conduct said activities and to interfere
with investigations being done by governmental officials into smuggling activities

67. The Defendants by their conduct of selling cigarettes to smugglers creating false
and misleading documents improperly labeling shipments of cigarettes setting up umbrella
operations to facilitate the smuggling, and setting forth mechanisms of payment by which

smugglers may pay for the cigarettes without being detected by government investigations all

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continue to exacerbate the problem of cigarette smuggling in THE DEPARTMENTS OF THE
REPUBLIC OF COLOMBIA and to damage the Plaintiffs

68. As a result of the Defendants’ conduct 1n violation of 18 U. S C §§ 1962(a)
1962(b) and l962(c) THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA have been
and continue to be irreparably injured as is alleged more fully above.

69. As a result of the nature of the smuggling activities it Would be li.inctionally
impossible for THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA to put a complete
halt to said smuggling activities as long as the Defendants continue to provide support for the
smugglers In addition, THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA continue
to suffer injury to business and property to an extraordinary degree

7 0. Money damages will not provide a iiill and complete remedy for Defendants’
unlawful conduct There is no adequate remedy at law that will protect the Plaintiffs in the
future from these smuggling activities if the Defendants do not cease their involvement and
support of smuggling activities Pursuant to 18 U.S.C. § 1964(a), Plaintiffs demand full

Injunctive and Equitable Relief.

COUNT VI

(AS TO THE PHILIP MORRIS DEFENDANTS)
(COl\/IMON LAW FRAUD)

71. Plaintiffs restate and reallege paragraphs one (1) through seventy (70) and further

allege:
72. The PH]LIP MORRIS DEFENDANTS and their co-conspirators intentionally

falsified documents falsified shipping records and generated false and misleading billing

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records concerning the payment and/or value for smuggled cigarettes so as to mislead the
Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, as to the destination
of smuggled cigarettes Additionally, the PHIL[P MORRIS DEFENDANTS intentionally made

4 false representations as to the value of their otherwise legally imported product. The PHILIP
MORRIS DEFENDANTS made these false statements and representations and failed to disclose
material information with intent to defraud the Plaintiffs The Defendants made these material
misrepresentations and omissions with the knowledge and intention that the Plaintiffs THE
DEPARTMENTS OF THE REPIJ'BLIC OF COLOMBIA, Would rely on said documents
Plaintiffs reasonably relied upon the Defendants’ misrepresentations and incurred damage as a
result of such reliance Specilic examples of the process by which these activities occurred are
set forth above

73. The Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA,
reasonably relied upon said documents as part of their monitoring of the shipment of cigarettes
into THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

74. Furthermore, the PHIL[P MORRIS DEFENDANTS knowingly and intentionally
generated false and misleading information concerning the nature of smuggling in THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, the extent of smuggling in THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, and the causes of smuggling in THE
DEPARTMENTS OF THE REPUBLIC OF COLOMBIA with the knowledge and intention that
the Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLOl\/IBIA7 would rely upon

said information

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75 . The Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF COLGMBIA,
did reasonably rely upon data and information provided to them by the Defendants and/or their
agents in acting or refraining from acting, With respect to smuggling activities

76. The PI-lILIP MORRIS DEFEMmS, in under-invoicing their products
falsifying documents to expedite the smuggling of cigarettes and in providing misleading
information concerning the smuggling of cigarettes acted in willful, wanton, gross and callous
disregard for the rights of the Plaintiffs THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA. The aforesaid actions were knowingly taken for the purpose of supporting the
activities of the Defendants’ co-conspirators and With the intent of increasing the profits and
sales of the Defendants and harming THE DEPARTMENTS OF THE REPUBLIC OF
COLOMBIA.

7 7 . Defendants were duty-bound to disclose the material information concerning the
destination of tobacco shipments and their operations that had been concealed By law, no
person may make false statements to the government Having undertaken to make
representations to THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA, Defendants
were obligated to provide full, complete and truthful information concerning the destination of
tobacco shipments and their operations Defendants had superior, if not exclusive knowledge of
such information, and it was not readily available to the Plaintiffs Defendants knew, or should
have known, that Plaintiffs would reasonably act, and refrain from acting, on the basis of
mistaken knowledge provided to Plaintiffs by Defendants and PLAINTIFFS did so to their
detriment Under these circumstances Defendants’ conduct amounts to fraudulent
misrepresentation and fraudulent concealment, and an effective conversion of PLAINT IFFS’

money and property

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78. As a direct and proximate result of the PH]LIP MORRIS DEFENDANTS’ fraud
and the Plaintiffs' reasonable reliance upon said fraud, the Plaintiffs have suffered economic
damages as are set forth more fully above in paragraphs thirty-four (34) through thirty-five (3 5).
The Plaintiffs demand judgment for damages both compensatory and punitive as well as full -

lnjunctive and Equitable Relief.

COUNT VII

(AS To THE PHLLIP Momus DEFENDANTS)
(PUBLIC NUIsANcE)

7 9. Plaintiffs restate and reallege paragraphs one (1) through seventy-eight (78) and
further allege:

80. Plaintiffs are government authorities

81. Smuggling of contraband cigarettes is a violation of law and a public nuisance

82. The smuggling activities in the United States and THE DEPARTMENTS OF
THE REPUBLIC OF COLOMBIA of the PH[LIP MORRIS DEFENDANTS have substantially
and unreasonably injured and endangered, and continue to injure and endanger, the well-being of
the general public and the operation of the market for tobacco products in Colombia.

83. The smuggling activities in the United States and THE DEPARTMENTS OF
THE REPUBLIC OF COLOMBIA of the PHILIP MORRIS DEFENDANT S have been, and
continue to be effectuated through widespread criminal activity, including mail fraud, wire
fraud, money laundering, smuggling and other illegal acts

84. The PH[LIP MORRIS DEFENDANTS facilitated the smuggling of contraband

cigarettes into THE DEPARTMENTS OF THE REPUBLIC OF COLOMBIA by means of a

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variety of acts and omissions including the following; (a) The PHILIP MORRIS
DEFENDANTS arranged a process by which cigarettes purchased by smugglers could be paid
for by secret payments into Swiss corporations and/or Swiss bank accounts so as to conceal
revenues derived‘from smuggling activities (b) The PH]LIP MORRIS DEFENDANTS
provided specific marketing information to smugglers including which products were in demand
and the volumes of cigarettes that were needed to meet the specific demands of the smugglers’
clients (c) The PHILIP MORRIS DEFENDANTS required the smugglers to keep logs of their
loads to keep track of where the loads were delivered, and how much the cigarettes were sold
for. This allowed the PHIL[P MGRRIS DEFENDANTS to maintain direct, hands-on control of
the entire smuggling process The PH]LIP MORRIS DEFENDANTS threatened smugglers that
if they did not keep proper records of their smuggling activities the PHILIP MGRRIS
DEFENDANTS would deal with other smuggling customers (d) The PH[LIP MORRIS
DEFENDANTS failed to properly supervise the distribution of their tobacco products to assure
that such products Were not sold illegally. (e) The PI~[[LIP MORRIS DEFENDANTS failed to
act reasonably when they were put on notice of their involvement with smugglers (f) The
PH[L]P MORRIS DEFENDANTS set up umbrella operations to facilitate the smuggling
scheme

85. Through these and other acts and omissions the PHILIP MORRIS
DEFENDANTS have offended7 interfered with, and caused damage to the public in the exercise
of rights common to all, in a manner such as to (a) offend public morals (b) interfere With use by
the public of a public place (c) endanger and injure the property, life health safety and comfort
of a considerable number of persons and (d) injure and interfere with the market for tobacco

products in Colombia. The acts and omissions of the PHILIP MORRIS DEFENDANTS

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constitute a public nuisance This public nuisance or some part of it, continues unabated to the
detriment of Plaintiffs’ economic interests

86. The PH]LIP MORRIS DEFENDANTS knew, or reasonably should have known,
that their acts and omissions relating to smuggling of tobacco products created great dangers and
other harm to the community, including Plaintiffs' economic interests

87. The PH[LIP MORRIS DEFENDANTS have acted maliciously, wantonly, and
with a recklessness that bespeaks an improper motive and vindictiveness and have engaged in
outrageous and oppressive conduct and With a reckless or wanton disregard of safety and rights
`I` heir conduct amounts to a fraud on the public.

88. As a direct and proximate result of the acts and omissions of the PHlLIP
MORRIS DEFENDANTS, which constitute a public nuisance Plaintiffs have sustained and
continue to sustain economic injury.

89. By reason of the injury to their economic interest due to the public nuisance as
set forth in the preceding paragraphs to this complaint, Plaintiffs are entitled to an award of
damages including actual, compensatory, and punitive damages In addition, damages do not
constitute a full and adequate remedy at law, and for this reason, Plaintiffs are entitled to full
lnjunctive and Equitable Relief, including a judgment permanently enjoining defendants from
the continuation of activities constituting a public nuisance and compelling defendants to take

steps to abate and prevent the smuggling of tobacco products

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COUNT VIII
(AS TO THE PH[LIP MORRIS DEFENDANTS)
(UNJUST ENRICHMENT)
90. Plaintiffs restate and reallege paragraphs one (1)_through eighty-nine (89) and
further allege;
91. The PHILIP MORRIS DEFENDANTS were unjustly enriched at Plaintiffs'

expense The acts and omissions of these defendants and others have placed in the possession of
these defendants money under such circumstances that in equity and good conscience they ought
not to retain it.

92. The PH]LIP MORRIS DEFENDANTS Were unjustly enriched through their
smuggling scheme By reason of their smuggling scheme and the avoidance of payment of
duties and taxes the PHILIP MORRIS DEFENDANTS were enabled to sell their product at
lower cost, and illegally enhance profits market share and the value of the international tobacco
operations

93. The unjust enrichment of the PHILIP MORRIS DEFENDANTS was
accomplished at the expense of Plaintiffs By reason of the smuggling scheme Plaintiffs were
and continue to be deprived of duties and taxes

94. Under these circumstances the receipt and retention of the money derived
from smuggling operations are such that, as between Plaintiffs and Defendants it is unjust for
Defendants to retain it.

95. Equity and good conscience require the PHILIP MORRIS DEFENDANTS to
pay damages and restitution to Plaintiffs disgorge their ill-gotten gains and, to effectuate these

remedies a constructive trust should be imposed by this Court upon the proceeds obtained by

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Defendants by reason of smuggling activities Judgment in Plaintiffs' favor should include full

lnjunctive and Equitable Relief.

COUNT IX
(AS To THE PHJLIP MoRRis DEFENDANTS)
` (NEGLIGENCE)

96. Plaintiffs restate and reallege paragraphs one (1) through ninety-five (95) and
furtherallege:

97. Defendants owed, and continue to owe a duty of care to Plaintiffs Defendants
were and are obligated to avoid negligently causing harm to PLAINT]FFS, and were and are
duty-bound to:

a. produce market, and distribute their cigarette products lawfully and with
due care

b. use due care in the hiring, selection, approval, instruction, training,
supervision, and discipline of employees agents and other personnel engaged in the production,
marketing, and distribution of their products some of whom the Defendants knew, or reasonably
should have known, were assisting and otherwise engaged in the smuggling of cigarettes

c. design, implement, and utilize effective monitoring and oversight
procedures to deter and detect smuggling-related activities by its employees and agents

d. investigate and terminate the smuggling-related conduct of their
employees agents and business associates particularly inasmuch as their managerial personnel

with decision-making authority were put on reasonable notice of such illicit conduct;

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e. deal with the Plaintiffs and their representatives in an honest, good faith,
and forthright manner;
f. terminate sales of their tobacco products to or through persons or entities

known to be engaged, directly or indirectly, in smuggling t

98. As manufacturers distributors and dominant participants in the marketplace
Defendants had, and continue to have the authority and ability to prevent smuggling of their
products for the protection of Plaintiffs Reasonable steps could have been taken by the
Defendants to prevent or reducethe risk of the sale of their products to persons likely to
distribute and sell them on the Colombian “black market.”

99. Defendants as manufacturers distributors and dominant participants in the
marketplace have a special ability, and duty, to detect and guard against the risks associated with
the distribution of their products for the benefit and protection of those foreseeany and
unreasonably placed at risk of harm from the distribution of their products including Plaintiffs

100. Defendants’ acts and omissions created and enhanced the risk that their products
would be distributed on the Colombian “black market” and injure Plaintiffs

101. Defendants’ acts and omissions affirmatively obstructed PLAINTIFFS’ abilities
to collect full and proper duties and taxes and otherwise to protect themselves from harms
associated with smuggling

102. The PH]LIP MORRIS DEFENDANTS have acted maliciously, wantonly, and
with a recklessness that bespeaks an improper motive and vindictiveness and have engaged in
outrageous and oppressive conduct and with a reckless or wanton disregard of safety and rights

Their conduct amounts to a fraud on the public.

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103. Defendants acting With and through their employees agents and co-conspirators
breached their duty of care as aforesaid, by acts and/or omissions that posed an unreasonable
risk of harm to Plaintiffs

- 104. Defendants’ breach proximately caused, and continues to cause damage to the
economic interests of Plaintiffs

105. By reason of the injury to its economic interests due to the negligence of the
Defendants as aforesaid, Plaintiffs are entitled to an award of damages including actual,
compensatory, and punitive damages In addition, damages do not constitute a iiill and adequate
remedy at law, and for this reason, Plaintiffs are entitled to full lnjunctive and Equitable Relief,
including a judgment permanently enjoining Defendants from the continuation of activities
constituting negligence and compelling Defendants to take steps to abate and prevent the
smuggling of tobacco products in THE DEPARTMENTS OF THE REPUBLIC OF

COLOMBIA.

COUNT X
(AS TO THE PHILIP MORRIS DEFENDANTS)
(NEGLIGENT rnsREPREsi-:NTATION)

106. Plaintiffs restate and reallege paragraphs one (1) through one hundred and five
(105) and further allege:

107. Defendants owed, and continue to owe a duty of care to Plaintiffs Defendants
were and are obligated to avoid negligently causing harm to Plaintiffs and were and are duty-
bound to: (a) be truthful in their representations to Plaintiffs and their representatives concerning

smuggling, under-invoicing, and other improper activities as aforesaid; and (b) provide Plaintiffs

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with such information as Defendants possess concerning the smuggling of Defendants’ products
into the DEPARTMENTS OF THE REPUBLIC OF COLOMBIA.

108. Defendants negligently made various misrepresentations to Plaintiffs and their
representatives as aforesaid v

109. The Defendants have acted maliciously, wantonly, and with a recklessness that
bespeaks an improper motive and vindictiveness and have engaged in outrageous and oppressive
conduct and with a reckless or wanton disregard of safety and rights

110. Defendants acting with and through their employees agents and co-conspirators
breached their duty of care as aforesaid, by acts and/or omissions that posed an unreasonable
risk of harm to Plaintiffs

111. Defendants’ breach proximately caused, and continues to cause damage to the
economic interests of Plaintiffs

112. By reason of the injury to its economic interests due to the negligence of the
Defendants as aforesaid, Plaintiffs are entitled to an award of damages including actual,
compensatory, and punitive damages In addition, damages do not constitute a full and adequate
remedy at law, and for this reason, Plaintiffs are entitled to full lnjunctive and Equitable Relief`,
including a judgment permanently enjoining Defendants from the continuation of activities
constituting negligence

DEMAND FOR JUDGMENT

113. WHEREFORE, the Plaintiffs demand judgment in their favor and against
Defendants as follows
a. Pursuant to COUNT I, damages including interest, against the PH]LIP

MORRIS DEFENDANTS, jointly and severally, the precise amount to be supplied to the Court

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upon a trial on the merits treble the actual damages pursuant to 18 U.S.C. § 1964(c), along With
an award of the costs of the suit and a reasonable attorney’s fee

b. Pursuant to COUNT IL damages including interest, against the PH[LIP
MORRIS DEFENDANTS,{ jointly and severally, the precise amount to be supplied to the Court
upon a trial of the merits treble the actual damages pursuant to 18 U.S.C. § 1964(0), along with
an award of the costs of the suit and a reasonable attorney’s fee

c. Pursuant to COUNT III, damages including interest, against the PH[LIP
MORRIS DEFENDANTS, jointly and severally, the precise amount to be supplied to the Court
upon a trial of the merits treble the actual damages pursuant to 18 U.S.C. § 1964(c), along with
an award of the costs of the suit and a reasonable attorney’s fee

d. Pursuant to COUNT IV, damages including interest, against the PHILIP
MORRIS DEFENDANTS, jointly and severally, the precise amount to be supplied to the Court
upon a trial of the merits treble the actual damages pursuant to 18 U.S.C. § 1964(c), along with
an award of the costs of the suit and a reasonable attorney’s fee

e. Pursuant to COUNT V, lnjunctive and Equitable Relief against the
PH]LIP MORRIS DEFENDANTS, jointly and severally along with an award of the costs of the
suit and a reasonable attorney’s fee

f. Pursuant to C()UNT VI, against the PH[LIP MORRIS DEFENDANTS,
jointly and severally, an award of compensatory and punitive damages with interest, the precise
amount to be supplied to the Court upon a trial of the merits lnjunctive and Equitable Relief;
and the costs of the suit and a reasonable attorney’s fee.

g. Pursuant to COUNT VII, against the PI-IILIP MORRIS DEFENDANI` S,

jointly and severally, an award of compensatory and punitive damages with interest, the precise

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amount to be supplied to the Court upon a trial of the merits lnjunctive and Equitable Relief;
and the costs of the suit and a reasonable attorney’s fee

h. Pursuant to COUNT VIII, against the PH[LIP MORRIS DEFENDANTS,
jointly and severally, an award of compensatory and punitive damages with interest, the precise
amount to be supplied to the Court upon a trial of the merits lnjunctive and Equitable Relief;
and the costs of the suit and a reasonable attorney’s fee

i. Pursuant to COUNT IX, against the PH[LIP MORRIS DEFENDANTS,
jointly and severally, an award of compensatory and punitive damages With interest, the precise
amount to be supplied to the Court upon a trial of the merits lnjunctive and Equitable Relief;
and the costs of the suit and a reasonable attorney’s fee

j. Pursuant to COUNT X, against the PHILIP MORRIS DEFENDANTS,
jointly and severally, an award of compensatory and punitive damages with interest, the precise
amount to be supplied to the Court upon a trial of the merits lnjunctive and Equitable Relief;
and the costs of the suit and a reasonable attorney’s fee

k. Such other and similar relief as the Court deems just, proper, and
equitable and trial by jury as to all issues triable as of right by jury.

Dated: New York, New York
May 19, 2000

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SPEISER, KRAUSE, NOLAN & GRANITO

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